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UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK Eee FLED

 

 

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DEBORAH D. PETERSON, Personal

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Representative of the Estate of James C. Knipple

(Dec.), et al., : 10 Civ. 4518 (KKBF)
OPINION AND ORDER

 

 

Plaintiffs,
-V-
ISLAMIC REPUBLIC OF IRAN, BANK MARKAZI
a/k/a CENTRAL BANK OF IRAN, BANCA UBAE
SpA, CITIBANK, N.A., and CLEARSTREAM
BANKING, S.A.,
Defendants.
KATHERINE B. FORREST, District Judge:
Before this Court are eighteen groups of judgment creditors, comprised of

more than a thousand individuals, who seek assets of the Islamic Republic of Iran

and related entities (collectively “Iran” unless stated otherwise).! Each group of

 

1 The judgment creditor groups are defined as the plaintiffs in this action, as well as the third-party
respondents named in defendant Citibank’s interpleader petition. This includes the plaintiffs in the
following actions: (1) Peterson v. Islamic Republic of Iran (“Peterson action”), No. 10 Civ. 4518
(KBF)(S.D.N.Y.); (2) Greenbaum et al. v. Islamic Republic of Iran, et al. “(Greenbaum action”), 02
Civ. 2148 (RCL)(D.D.C.); (8) Acosta, et al. v. Islamic Republic of Iran, et al. (“Acosta action”), 06 Civ.
745 (RCL)(D.D.C.); (4) Rubin, et al. v. Islamic Republic of Iran (“Rubin action”), 01 Civ. 1655
(RCL)(D.D.C.); (5) Estate of Heiser et al. v. Islamic Republic of Iran et al. (“Heiser action”), 00 Civ.
2329 and O01 Civ. 2104 (RCL)(D.D.C.); (6) Levin v. Islamic Republic of Iran (“Levin action”), 05 Civ.
2494 (GK)(D.D.C.); (7) Valore, et al. v. Islamic Republic of Iran, et al. (““Valore action”), 03 Civ. 1959
(RCL)(D.D.C.); (8) Bonk, et al. v. Islamic Republic of Ivan et al. (“Bonk action”), 08 Civ. 1273
(RCL)(D.D.C.); (9) Estate of James Silvia, et al. (“Silvia action”), 06 Civ. 750 (RCL)(D.D.C.); (10)
Estate of Anthony K. Brown, et al. v. Islamic Republic of Iran, et al. “Brown action”), 08 Civ. 531
(RCL)(D.D.C.); (11) Estate of Stephen B. Bland v. Islamic Republic of Iran, et al., “Bland action”), 05
Civ. 2124 (RCL)(D.D.C.); (12) Judith Abasi Mwila, et al. v. Islamic Republic of Iran, et.al. “Mwila
action”), 08 Civ. 1377 GDB)(D.DC.); (13) James Owens, et al. v. Republic of Sudan, et al. “Owens

action”), 01 Civ. 2244 (JDB)(D.D.C.); (14) Rizwan Khaliq, et al. v. Republic of Sudan, et al. (“Khaliq
action”), 08 Civ. 1273 (JDB)(D.D.C.). By orders dated June 27, 2011 (ECF No. 22) and July 28, 2011

(ECF No. 32), these judgment creditors were added to the consolidated action 10 Civ. 4518. In June
2012, four additional actions by way of supplemental third-party respondents to the Citibank

Interpleader were added: (15) Beer et al. v. Islamic Republic of Iran et al. (“Beer action”), 08 Civ.
victims or their estates has obtained judgments against Iran for injury or wrongful
death arising from acts of terrorism Iran sponsored, led, or in which it participated.
Together, plaintiffs have obtained billions of dollars in judgments against Iran, the
vast majority of which remain unpaid. These judgments were — long ago — duly
registered in this district. As amongst themselves, plaintiffs have informed the
Court that they have reached agreement as to the priority and manner of
distribution of any recovery. (See Tr. of Nov. 27, 2012, Status Conf. at 15:19-22,
ECF No. 293.)

Each group of plaintiffs seeks turnover of assets currently held at Citibank,
N.A. (“Citibank”), as part of efforts to satisfy these outstanding judgments. (Second
Am. Compl., ECF No. 160.) Citibank is a stakeholder without interest in the
ultimate outcome of this dispute. (Third Party Pet. in Nature of Interpleader
(“Citibank Interpleader”), ECF No. 38.) Its interest is in resolution of ownership of
funds held in the account so that it may, if and when requested, ensure that the
funds are appropriately disbursed. (See Letter of Sharon L. Schneier to the Hon.
Katherine B. Forrest, Dec. 14, 2012, ECF No. 300 (noting “Citibank is a neutral
stakeholder in this proceeding”)).

These actions have been litigated in fits and starts; some of the delays are

certainly attributable to the fact that established procedures for obtaining writs of

 

1807 (RCL)(D.D.C.); (16) Kirschenbaum et al. v. Islamic Republic of Iran et al. (“Kirschenbaum
action”), 03 Civ. 1708 (RCL)(D.D.C); (17) Arnold et al. v. Islamic Republic of Iran et al. (“Arnold

action”), 06 Civ. 516 (RCL)(D.D.C.), and (18) Murphy et al. v. Islamic Republic of Ivan et al.
(‘Murphy action”), 06 Civ. 596 (RCL)(D.D.C.). While these actions came to this Court originally in
different procedural postures, they are all seeking collection of judgments with regard to the same
assets as set forth herein, and are treated by the Court for ease of reference as “plaintiffs” herein.

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attachment, restraining funds and executing judgments thereon are not well suited
to large, complex actions such as this. For instance, for a number of years many of
the actions were categorized as “miscellaneous” and were not assigned to any
particular judge. Additionally, litigation against any sovereign inserts legal
complexities. Finally, the basic fact that billions of dollars are at stake virtually
insures vigorous litigation. And without a doubt these actions have been vigorously
litigated. All matters as to each of the eighteen creditor groups have been collected
together and proceeded before this Court since December 10, 2012.

Defendants do not dispute the validity of plaintiffs’ judgments. They do,
however, dispute that the assets held at Citibank are subject to turnover, and that
this Court has jurisdiction over those assets or over certain defendants. Defendants
Bank Markazi, UBAE and Clearstream have also raised issues of state, federal
(including a number of constitutional arguments), and international law to oppose
turnover.

Currently before this Court are five groups of motions:

First, defendants UBAE S.p.A. (““UBAE”) and Clearstream Banking S.A.
(“Clearstream”) have separately moved to dismiss the claims against them for lack
of personal jurisdiction. (ECF Nos. 295, 299, 301.) Plaintiffs have opposed these
motions. (ECF Nos. 302, 306, 313, 323, 324.)

Second, Bank Markazi has moved to dismiss the claims against it for lack of

subject matter jurisdiction. (ECF No. 205.) Plaintiffs have opposed that motion.

(ECF No. 219.)
Third, defendant Clearstream has renewed its earlier motion to vacate
restraints. (ECF No. 174.) Plaintiffs oppose this motion. (ECF No. 199.)

Fourth, all plaintiffs have moved (or joined in the motion) for partial
summary judgment for turnover of the assets held at Citibank. (ECF Nos. 209, 307.)
Defendants Bank Markazi, UBAE, and Clearstream oppose this motion; defendant
Citibank takes no position beyond its reliance on the arguments raised by the other
parties. (ECF Nos. 261, 282, 284, 286, 300, 328.)

Fifth, the Bland judgment creditors have moved to authorize execution and/or
attachment against assets of Iran. (ECF No. 305.)

Altogether, these motions and supporting materials consume several
thousands of pages. For the reasons set forth below, this Court denies each of the
defendants’ motions, grants plaintiffs’ motion for partial summary judgment and
turnover and grants the Bland plaintiffs’ motion to execute.

I. FACTUAL BACKGROUND

The following facts are undisputed unless otherwise noted. Bank Markazi is
the Central Bank of Iran, an agency of the Iranian Government. By 2008, Bank
Markazi had over $2 billion in bonds (the “Markazi Bonds”) denominated in U.S.
dollars held in an account with defendant Clearstream S.A. Those bonds have
subsequently been split into two groups relevant to this action: first, $1.75 billion in
cash proceeds of the bonds are held in an account at Citigroup in New York; these
proceeds are subject to restraints imposed by the Court, by Executive Order, and by

statute. The proceeds are the subject of, inter alia, plaintiffs’ motion for partial
summary judgment and turnover and Clearstream’s motion to vacate the restraints.
The second group consists of two securities—with a face value of $250 million—that
were originally part of the Markazi Bonds. Following a June 2008 evidentiary
hearing in which Judge Koeltl lifted the restraints as to those two securities, they
were sold on the open market. The $250 million are relevant to several of plaintiffs’
claims, but are not addressed by the pending turnover motion or the motion to
vacate the restraints.

Prior to maturity, each Markazi Bond (from both groups) had been issued in
physical form and was registered with either the Federal Reserve Bank of New
York (“FRBNY”) or the Depository Trust Company (“DTC”), also located in New
York. Accordingly, prior to maturity, the FRBNY and the DTC were the custodians
of the Markazi Bonds.

For a period of years, Bank Markazi maintained an account with
Clearstream S.A. which, in turn, maintained a correspondent account on its behalf
at Citibank to handle funds associated with the bonds, including interest and
principal payments.

Clearstream Luxembourg is an “international service provider for the
financial industry offering securities settlement and custody-safekeeping services.”
(See Clearstream Consolidated Mem. of L. in Support of its Renewed Mot. to Vacate
Restraints at 1.) “Clearstream serves as an intermediary between financial
institutions worldwide to ensure that transactions from one bank to another are

efficiently and successfully completed.” (Id. at 1-2.) “As a post trade services
provider currently covering the international and 52 domestic markets,
Clearstream has over 2,500 financial institutions from all over the world among its
customer base...” (Id. at 2.)

One of Clearstream’s offices is in New York City. At all times relevant to
these motions, the office that Clearstream maintained in New York engaged in
sales, marketing and administrative activities relating to Clearstream’s
international financial services business. The New York office employed New York-
based staff. Those New York employees had access to facilities supportive of sales
and marketing efforts such as office space, telephones, email access and addresses
and fax lines. Clearstream paid its New York staff out of bank accounts maintained
in New York. Since 2002, Clearstream has been registered with New York State to
maintain a representative office and conduct certain activities in New York. There
is no evidence in the record that Clearstream’s New York office was a depository
institution. Nor is there evidence in the record that Clearstream’s Luxembourg
office attempted to maintain any corporate separation from its New York office.
Indeed, based on Clearstream’s submissions in this matter, its New York office was
intended to act as a sales and marketing arm for its Luxembourg operations.
Clearstream Luxembourg used its New York office to seek additional business for
its Luxembourg-based financial organization and also used it to ensure seamless
service to clients by maintaining points of contact in New York.

Over the years, Citibank has maintained an account in New York for

Clearstream, to which the proceeds of the Markazi Bonds were posted. The parties
dispute the extent to which Clearstream’s New York office was involved in activities
relating to the account it maintained at Citibank in New York on behalf, first, of
Bank Markazi and later on behalf of defendant UBAE—in connection with services
provided with respect to the Markazi Bonds. However, as set forth below, the
resolution of that factual dispute is unnecessary to resolution of the instant
motions.

From time to time, interest was paid on the bonds and posted to
Clearstream’s account at Citibank. As the bonds matured, the proceeds were
credited to that same account.

In 2008, UBAE, a bank located in Italy, opened a new account with
Clearstream, its second such account.? The record evidence supports UBAE’s
position that this account was opened at Clearstream’s Luxembourg office.
Following the opening of that account, Clearstream recorded a transfer of the
entirety of the Markazi Bonds from Bank Markazi to UBAE—>plaintiffs point to
evidence that this transfer was marked “free of payment”.

According to UBAE, in 2008, Bank Markazi asked that UBAE close and sell
two securities—with a face value of $250 million’—held in the new UBAE custodial
account located at Clearstream Luxembourg. (Reply Decl. of Biagio Matranga to

Pls.’ Opp. to Def. UBAE’s Mot. to Dismiss (“Matranga Reply Decl.”) 4 7, ECF No.

 

2 Plaintiffs urge that the timing of UBAE’s actions with respect to opening its account with
Clearstream and engagement in various transactions with Bank Markazi demonstrate that Bank
Markazi was engaged in efforts to avoid the very turnover now at issue. In resolving these motions,
this Court need not and does not refer to that timeline, or any inferences which a finder of fact might
draw thereon.

3 The bonds associated with these transactions were those as to which Judge Koeltl had lifted the
restraints following the evidentiary proceeding held in June 2008. One of plaintiffs’ claims for
fraudulent conveyance relate to the proceeds from those bonds.

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308.) UBAE negotiated a selling price and offered to buy the securities from Bank
Markazi at a price slightly lower than the negotiated selling price, the difference
representing its fee for the transaction. (Id. J 8.) The sale to the third party
customers occurred in Luxembourg and customers of Clearstream Luxembourg
purchased both securities. (Id. {| 9-10.) UBAE concedes that this sale was
performed at the request of and for the benefit of Bank Markazi. (Id. { 13.)

Plaintiffs allege that, despite any allegations that the sale of the $250 million
in Markazi Bonds occurred in Luxembourg, the defendants arranged for the
transfer of the dollar-denominated bond proceeds from the Citibank account in New
York to UBAE. (SAC { 98.) Clearstream allegedly instructed Citibank to transfer
the cash proceeds of the $250 million from the holding account to Clearstream’s
cash account. (Id.) Next, Clearstream instructed Citibank to make an electronic
funds transfer (“EFT”) of the cash from Citibank to UBAE’s correspondent bank in
New York, HSBC. (Id. J{ 100, 214.) Finally, UBAE, acting on behalf of Bank
Markazi, then wired the cash from HSBC to UBAE in Italy.

After the sale of the $250 million, over $1.75 billion in proceeds the Markazi
Bonds thus remain in the UBAE/ Clearstream account currently at Citibank in
New York. On a number of occasions, Bank Markazi has stated that it owns the
Markazi Bonds and all proceeds associated with them (now held in the Citibank
account). It has stated that “Over $1.75 billion in securities belonging to Bank
Markazi... are frozen in a custodial Omnibus Account at [Citibank]”; that the

“Restrained Securities are the property of Bank Markazi, the Central Bank of Iran”,
that the “aggregate value of the remaining bond instruments, i.e. the Restrained
Securities that are the property of Bank Markazi and the subject of the Turnover
Action — is thus $1.753 billion”; that the “Restrained Securities are the property of a
Foreign Central Bank . . .”; that the “Restrained Securities are presumed to be the
property of Bank Markazi”; and “the Restrained Securities are prima facie the
property of a third party, Bank Markazi... .” (See Bank Markazi’s First Mem. of
L. in Support of its Mot. to Dismiss the Am. Compl. (“Markazi’s First MOL”) at 1, 5,
9, 10, 36, ECF No. 18.) In addition, two officers of Bank Markazi have sworn under
penalty of perjury that the Blocked Assets are the “sole property of Bank Markazi
and held for its own account.” (Aff. of Gholamossein Arabieh § 2, Decl. of Liviu
Vogel in Support of Pls.’ Mot. for Partial Summ. Judgment (“Vogel Decl.”), Ex. J,
Oct. 17, 2010, ECF No. 210; Aff. of Ali Asghar Massoumi { 2, Vogel Decl. Ex. K, Oct.
17, 2010, ECF No. 210). UBAE has similarly asserted that it does not have a
“legally cognizable interest in the restrained bonds.” (See UBAE Mem. of L. in Opp.
to Pls.’ Mot. for Summ. J. (““UBAE S.J. Opp. Br.”) at 2, ECF No. 328.)

All initial transactions relating to payment of interest and principal for the
Markazi Bonds have occurred in New York. Clearstream’s Citibank account has
been credited with any such payments. Prior to the 2008 “free of payment” transfer,
Clearstream’s procedure was then to credit Bank Markazi’s Clearstream account
with the appropriate amounts; following the transfer, Clearstream has credited
such amounts to UBAE. UBAE concedes that it has paid interest to Bank Markazi

related to the bonds; such interest payments were credited to Bank Markazi’s
account with UBAE in Rome. (See Decl. of Biagio Matranga (“Matranga Decl.”)
915, ECF No. 95.) UBAE maintained its correspondent account at HSBC in New
York until at least some time in 2009. (Id. {J 5.)

UBAE acknowledges that at the close of each day, and sometimes more than
once a day, its treasurer (located in Italy) arranges for electronic transfers of the
balance of any of its proprietary international U.S. Dollar accounts to its U.S. Dollar
correspondent account at HSBC in New York, where they are pooled and may be
transferred to Italy. (See Id.)

In 2012, the last of the Markazi Bonds matured. Clearstream’s account at
Citibank currently consists of cash associated with the bonds.*

UBAE sold the bonds and Clearstream, on behalf of UBAE, instructed
Citibank New York to transfer the cash proceeds of the sale from Citibank New
York to Clearstream’s account at Citibank New York. As with the $250 million
sale, when UBAE requested a withdrawal, Clearstream instructed Citibank to
make an EFT through Clearstream’s correspondent bank, JP Morgan Chase in New
York, to UBAE’s correspondent bank in New York, HSBC.

On June 12, 2008, this Court issued a writ of execution as to the Blocked
Assets. (ECF No. 84.) This writ was levied upon Citibank as of June 13, 2008. The
legal effect of levying this writ upon the Markazi Bonds and associated bank

accounts was to restrain those assets. On October 17, 2008, this Court issued a

 

4 The cash held in Clearstream’s Citibank account is herein referred to as the “Blocked Assets.” The
terms “blocked” and “restrained” have particular legal importance. As discussed, infra, the Blocked
Assets have been “blocked” pursuant to statute. The Blocked Assets were “restrained” pursuant to
statute and by the writs of attachment previously obtained by the plaintiffs herein.

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second writ of execution, this time against Clearstream Banking S.A. (ECF No.
118.) Plaintiffs served Citibank and Clearstream Banking S.A. with Restraining
Notices and Amended Restraining Notices later in June 2008. On June 27, 2008,
this Court ordered that the Markazi Bonds and associated accounts (all
encompassed within the category of “Blocked Assets”) remain restrained until
further order. (ECF No. 103.) Various extensions of the original restraints were
issued by this Court in June 2009, May and June 2010. (ECF No. 171; Vogel Decl.
Ex. G, Order Extending Levy, 18 Misc. 302 (BSJ)(S.D.N.Y. May 10, 2010), ECF No.
210; Id. Ex. H, Order Extending Levy, 18 Misc. 302 (BSJ)(S.D.N.Y. June 11, 2010).)

On June 8, 2010, following two years of legal activity in the Southern District
of New York relating to the Blocked Assets (including registering judgments,
obtaining restraining orders, and issuing writs of attachment, see generally Vogel
Decl. Exs. B, C, D, U), the Peterson plaintiffs filed the original complaint which
commenced this action, seeking, inter alia, turnover of the Blocked Assets. This had
the legal effect of continuing the restraints on those assets pursuant to N.Y.
C.P.L.R. § 5232(a), until transfer or payment in the amount of the Blocked Assets is
made.

The First Amended Complaint was filed on October 20, 2010 (ECF No. 3),
and the Second Amended Complaint (“SAC”), the operative complaint in this
matter, was filed on December 7, 2011. (ECF No. 160.) The SAC asserts eight
causes of action including (1) a declaration that Bank Markazi is an agent and/or

alter ego of Iran, the Restrained Bonds are beneficially owned by Iran and are

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subject to execution for enforcement of Plaintiffs' judgments, and that the
Restrained Bonds are not covered by 28 U.S.C. § 1611(b)(1); (2),(8) rescission of
allegedly fraudulent conveyances by Iran, Bank Markazi, and Clearstream under
New York Debtor and Creditor Law §§ 276(a) and 273-a; (4),(5) turnover of the
Markazi Bonds under N.Y. C.P.L.R. §§ 5225 and 5227; (6) equitable relief against
all defendants; (7) tortious interference with collection of money judgment, and (8)
prima facie tort against UBAE and Clearstream.

On February 5, 2012, President Obama issued Exec. Order No. 13,599 (“E.O.
13599”), 77 Fed. Reg. 6659. E.O. 13599 declared that “[a]ll property and interests”
in property of Iran and held in the United States, were “blocked” under his
authority pursuant to the International Emergency Economic Powers Act
(“IEEPA”), 50 U.S.C. § 1701.

E.O. 13599 had the effect of turning any restrained assets owned by the
Iranian government (or any agency or instrumentality thereof) into “Blocked
Assets”. As Bank Markazi is the Central Bank of Iran, any of its assets located in
the United States as of February 5, 2012, became “Blocked Assets” pursuant to E.O.
13599.

Citibank complied with its obligations under E.O. 13599 by reporting the
Clearstream account proceeds to the Office of Foreign Assets Control (“OFAC”) and
placing proceeds relating to the Markazi Bonds into a segregated interest bearing

account (this has been referred to from time to time as the “omnibus” account).

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That account is maintained in the Southern District of New York. As of April 2012,
the Blocked Assets in that Citibank account now consist solely of cash.
II. LAW RELEVANT TO ALL MOTIONS

A. The Foreign Sovereign Immunities Act

Generally, U.S. law provides that a foreign sovereign is entitled to immunity
from legal action in the United States. See Foreign Sovereign Immunities Act
(“FSIA”), 28 U.S.C. §§ 1602-1611.

The FSIA codifies “the restrictive theory of sovereign immunity.” Verlinden
B.V. v. Cent. Bank of Nigeria, 461 U.S. 480, 488, 103 S.Ct. 1962, 76 L.Ed.2d 81
(1983). The Supreme Court found that when Congress enacted the FSIA, it
intended to ensure that “duly created instrumentalities of a foreign state are to be
accorded a presumption of independent status.” See First Nat'l City Bank v. Banco
Para El Comercio Exterior de Cuba (“Bancec”), 462 U.S. 611, 627, 103 S.Ct. 2591, 77
L.Ed.2d 46 (1983). The “presumption of independent status” is not to be “lightly
overcome.” Hercaire Int'l, Inc. v. Argentina, 821 F.2d 559, 565 (11th Cir.1987).
Such “instrumentalities” include a foreign state’s “political subdivisions and
agencies or instrumentalities,” as set forth in the statute. See Hester Int'l Corp. v.
Federal Republic of Nigeria, 879 F.2d 170, 176 n.5 (5th Cir.1989)(emphasis added).

The property of a sovereign’s central bank is immune from attachment under
certain circumstances, including if the property is that of a central bank held for its
own account. 28 U.S.C. § 1611(b)(1).

The FSIA does, however, provide exceptions to immunity in connection with

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legal proceedings seeking attachment to fulfill a judgment:

(b) In addition to subsection (a), any property in the United States of an agency or
instrumentality of a foreign state engaged in commercial activity in the United
States shall not be immune from attachment in aid of execution, or from
execution, upon a judgment entered by a court of the United States ... if—

(2) the judgment relates to a claim for which the agency or instrumentality is not
immune by virtue of section 1605(a)(2), (3) or (5) or 1605(b), or 1605A of this

chapter ...
28 U.S.C. § 1610 (emphasis added).

Section 1605A, the “Terrorism Exception to the Jurisdictional Immunity of a

Foreign State”, provides:

(a) In general—

(1) No immunity—A foreign state shall not be immune from the jurisdiction of
courts of the United States or of the States in any case not otherwise covered
by this chapter in which money damages are sought against a foreign state for
personal injury or death that was caused by an act of torture, extrajudicial
killing, aircraft sabotage, hostage taking, or the provision of material support
or resources for such an act if such act or provision of material support or
resources is engaged in by an official, employee, or agent of such foreign state

28 U.S.C. § 1605A.
According to § 1603 of the FSIA, a “foreign state” includes, “a political

subdivision of a foreign state or an agency or instrumentality of a foreign state as

defined in subsection (b).” 28 U.S.C. § 1603(a). Subsection (b) provides:

(b) An ‘agency or instrumentality of a foreign state’ means any entity—
(1) Which is a separate legal person, corporate or otherwise, and

(2) Which is an organ of a foreign state or political subdivision thereof, or a
majority of whose shares or other ownership interest is owned by a foreign state
or political subdivision thereof, and

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(3) Which is neither a citizen of a State of the United States as defined in section
1382(c) and (e) of this title, nor created under the laws of any third country.

28 U.S.C. § 1603(b).

Thus, in order to pierce through the FSIA, including its provision for central
bank immunity, the Court must undertake various analyses. The first question is
whether the assets at issue are in fact “Iranian” and the judgments in compensation
for acts of terrorism. This analysis complies with 28 U.S.C. §§ 1603, 1605A, and
1610. Next, for central bank assets, specifically, the Second Circuit has adopted a
functional test that asks whether those assets are used for central bank functions as
normally understood, irrespective of their commercial nature. See NML Capital,
Ltd. v. Banco Central de la Republica Argentina, 652 F.3d 172, 194 (2d Cir. 2011).
Under NML, if the property at issue is that of a central bank, to execute against
such property, a plaintiff must demonstrate “with specificity that the funds are not
being used for central banking functions as such functions are normally
understood.” Id. at 194. However, other statutes (as discussed below) provide for
alternative ways to reach such assets.

B. TRIA

The Terrorism Risk Insurance Act of 2002 (“TRIA”), codified in a note to the
FSIA, allows a plaintiff to execute against “blocked” assets of a terrorist party.

TRIA states, in relevant part:

Notwithstanding any other provision of law . . . in every case in
which a person has obtained a judgment against a terrorist party
on a claim based upon an act of terrorism, or for which a terrorist
party is not immune under section 1605(a)(7) of title 28 United

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States Code, the blocked assets of that terrorist party ... shall be
subject to execution or attachment in aid of execution in order to
satisfy any judgment to the extent of any compensatory damages
for which such terrorist party has been adjudged liable.
TRIA § 201(a), Pub.L. No. 107-297, Title II, 116 Stat. 2337 (2002)(emphasis added).
TRIA defines the term “terrorist party” as “a terrorist, terrorist organization .
..., or a foreign state designated as a state sponsor of terrorism under section 6(j)
of the Export Administration Act of 1979 (50 U.S.C.App. 2405q)) or section 620A of
the Foreign Assistance Act of 1961 (22 U.S.C. 2371).” TRIA § 201(d)(4). Iran has
been designated as a “state sponsor of terrorism” under section 6() of the Export
Administration Act of 1979 since January 19, 1984. State Sponsors of Terrorism,
U.S. Dep’t of State, at http://www.state.gov/j/ct/c14151.htm (last visited July 27,
2012). TRIA’s broad language—“notwithstanding any other provision of law... in
every case”—provides one basis pursuant to which a separate “central bank”
analysis becomes unnecessary; TRIA trumps the central bank provision in 28
U.S.C. § 1611(b)(2).
C. The IEEPA and E.O. 13599
In 1977, Congress enacted the International Emergency Economic Powers
Act (“‘IEEPA”). 50 U.S.C. §§ 1701, 1702. The IEEPA authorizes the president to
take broad-ranging action against the financial assets and transactions of those
entities he determines pose an “unusual and extraordinary threat” to the national
security of the United States. Id. On February 6, 2012, pursuant to his authority

under IEEPA, President Obama issued Executive Order (“E.O.”) 13599. E.O. 13599

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provides that:

[a]ll property and interests in property of the Government of Iran,
including the Central Bank of Iran, that are in the United States,
that are or hereafter come within the United States, or that
hereafter come within the possession or control of any United
States person, including any foreign branch, are blocked and may
not be transferred, paid, exported, withdrawn, or otherwise dealt
in.

Exec. Order No. 13,599, 77 Fed.Reg. 26 (Feb. 6, 2012)(emphasis added). For

purposes of E.O. 13599, the “Government of Iran” is “any political subdivision,
agency or instrumentality thereof, ... and any [individual or entity] owned or
controlled by, or acting for or on behalf of, the Government of Iran.” Id. That

definition is similar to the definition promulgated by the Department of Treasury:
(a) The state and the Government of Iran, as well as any political
subdivision, agency or instrumentality thereof; (b) Any entity
owned or controlled directly or indirectly by the foregoing; (c) Any
person to the extent that such person is, or has been, or to the
extent that there is reasonable cause to believe that such person is,

or has been, since the applicable effective date, acting or purporting
to act directly or indirectly on behalf of any of the foregoing.

31 C.F.R. § 560.304.

Thus, as a matter of law, Bank Markazi’s (indisputably the Central Bank of
Iran) assets were “blocked” on February 6, 2012. “Blocking” Bank Markazi’s assets
located in the U.S.—and, here, in the Southern District of New York—has the effect
of restraining them and prevents any transfer or dealing in those assets. The writs
of attachment previously obtained had already restrained Bank Markazi’s assets

held at Citibank. However, to the extent UBAE asserts it has any control relating

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to those assets, it (as discussed below) simply fits within E.O. 13599’s provision for
a person acting “directly or indirectly” on behalf of Iran.

The Office of Foreign Assets Control (“OFAC”), operating under the United
States Department of Treasury, has determined that “E.O. 13599 requires U.S.
persons to block all property and interests in property of the Government of Iran,
unless otherwise exempt under OFAC.” Frequently Asked Questions and Answers,
U.S. Dep’t of Treasury (hereinafter “OFAC FAQs”), available at http://
www.treasury.gov/resource-center/faqs/Sanctions/Pages/answer.aspx (last visited
July 25, 2012); see also 31 C.F.R. § 501.603(a)(1) (‘Any person ... holding property
blocked pursuant to this chapter must report.”). According to the OFAC “Fact
Sheet”, “[a]mong other things, the E.O. [13599] freezes all property of the Central
Bank of Iran and all other Iranian financial institutions, as well as all property of
the Government of Iran ...”. See OFAC Regulations for the Financial Community,
Dep’t of the Treasury § V(A) (Jan. 24, 2012); Fact Sheet: Implementation of
National Defense Authorization Act Sanctions on Iran, U.S. Dep’t of Treasury,
available at http:// www.treasury.gov/press-center/press-releases/Pages/tg1409.aspx
(last visited July 25, 2012).

OFAC periodically publishes a list of “Specially Designated Nationals and
Blocked Persons” (the “SDN list”). The SDN list aids the Court to determine which
entities are known to be blocked. That list, however, purports to be neither
exhaustive nor exclusive. It cannot be used as a sole reference point in connection

with a determination as to whether a particular entity’s assets are in fact “blocked”

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pursuant to E.O. 13599. In general, and therefore left to judicial determination,
“E.O. 13599 blocks the property and interests in property of any individual or entity
that comes within its definition of the term ‘Government of Iran’ regardless of
whether it is listed on the SDN List... .” OFAC FAQs. The Government of Iran
and Bank Markazi are on the SDN list. Clearstream and UBAE are not.

The SDN list is updated when individuals, entities or the Treasury report
assets owned by Iran. According to OFAC, “E.O. 13599 requires U.S. persons to
block all property and interests in property of the Government of Iran, unless
otherwise exempt under OFAC.” See 31 C.F.R. §501.603(a)(1)(Any person ...
holding property blocked pursuant to this chapter must report.”) In connection with
its OFAC reporting obligations, in February 2012—four years after the “free of
payment” transfer of the bonds to UBAE—Citibank reported to the U.S. Treasury
the account it maintained for Clearstream in connection with the Bank Markazi
Bonds.

D. The Newest Act: 22 U.S.C. § 8772

On August 10, 2012, the Iran Threat Reduction and Syria Human Rights Act
of 2012 (the “2012 Act”) went into effect. 22 U.S.C. §8701, et seq. The 2012 Act
does not eliminate any of the authority and bases for blocking or executing against
certain assets as set forth under the FSIA or TRIA. It does, however, provide a
separate and additional basis for execution on assets in aid of fulfilling judgment.
Section 502 of the 2012 Act (22 U.S.C. § 8772) states:

(a) Interests in blocked assets

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(1) In general

Subject to paragraph (2), notwithstanding any other provision of law,
including any provision of law relating to sovereign immunity and
preempting any inconsistent provision of State law, a financial asset
that is—

(A) held in the United States for a foreign securities
intermediary doing business in the United States;

(B) a blocked asset (whether or not subsequently unblocked) that
is the property described in subsection (b); and

(C) equal in value to a financial asset of Iran, including an asset
of the central bank or monetary authority of the Government
of Iran or any agency or instrumentality of that Government,
that such foreign securities intermediary or a related
intermediary holds abroad,

shall be subject to execution or attachment in aid of execution in
order to satisfy any judgment to the extent of any compensatory
damages awarded against Iran for damages for personal injury
or death...

(2) Court determination required

In order to ensure that Iran is held accountable for paying the
judgments described in paragraph (1) and in furtherance of the
broader goals of this Act to sanction Iran, prior to an award
turning over any asset...the court shall determine whether Iran
holds equitable title to, or beneficial interest in, the assets
described in subsection (b) and that no other person possesses a
constitutionally protected interest in the assets described in
subsection (b) under the Fifth Amendment to the Constitution of
the United States. To the extent the court determines that a
person other than Iran holds—

(A) equitable title to, or a beneficial interest in, the assets
described in subsection (b)...; or

(B) a constitutionally protected interest in the assets described
in subsection (b),

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Such assets shall be available only for execution or attachment
in aid of execution to the extent of Iran’s equitable title or
beneficial interest therein...
(b) Financial assets described
The financial assets described in this section are the financial assets
that are identified in and the subject of proceedings in the United
States District Court for the Southern District of New York in
Peterson, et al. v. Islamic Republic of Iran, et al. ...that were

restrained by restraining notices and levies secured by plaintiffs in
those proceedings...

(3) Financial asset; securities intermediary

The term “Iran” means the Government of Iran, including the
central bank or monetary authority of that Government and any
agency or instrumentality of that Government.

22 U.S.C. § 8772 (emphases added).

As the statute relates specifically to the instant action, its interpretation is a
matter of first impression.

On its face, the statute sweeps away the FSIA provision setting forth a
central bank immunity, 28 U.S.C. § 1611(b)(1); it also eliminates any other federal
or state law impediments that might otherwise exist, so long as the appropriate
judicial determination is made. 22 U.S.C. § 8772(a)(2). If UBAE is merely an agent
acting directly or indirectly on behalf of Iran, then the 2012 Act provides that assets

it holds for Iran are subject to execution if its requirements are met; the 2012 Act

therefore provides a separate basis—in addition to the FSIA and TRIA—for

execution.

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Ill. DEFENDANTS’ MOTIONS TO DISMISS
Each defendant—Clearstream, UBAE, and Bank Markazi—has filed a

separate motion to dismiss.

A. UBAE and Clearstream Motions to Dismiss

Clearstream and UBAE have moved pursuant to Fed. R. Civ. P. 12(b)(2) to
dismiss all claims against them for lack of personal jurisdiction. It is undisputed
that each is a nonresident defendant. Both Clearstream and UBAE argue that they
are based in Europe and have no presence in New York.

i. Standard of Review for Personal Jurisdiction

Plaintiffs bear the burden to establish personal jurisdiction as to each
defendant. See MacDermid Inc., v. Deiter, 702 F.3d 725, 727-28 (2d Cir.
2012)(citing Seetransport Wiking Trader Schiffarhtsgellschaft MBH & Co..,
Kommanditgesellschaft v. Navimpex Centrala Navala, 989 F.2d 572, 580 (2d Cir.
1993)). Jurisdiction is measured at the time that plaintiffs filed suit. (See Banca
UBAE Mem. of L. in Suppt. of Mot. to Dismiss (“UBAE MTD Br.”) at 3.) See
Klinghoffer v. S.N.C. Achille Lauro, 937 F.2d 44, 52 (2d Cir. 1991). Prior to trial,
when a motion to dismiss for lack of personal jurisdiction is based on affidavits and
other written materials, a plaintiff need only make a prima facie showing. See
MacDermid, 703 F.3d at 727. The Court is required to accept the allegations in the

complaint as true so long as they are uncontroverted by defendant’s affidavits. Id.

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In order for this Court to exercise personal jurisdiction, such jurisdiction
must have a statutory basis and comport with the due process clause of the Fifth
Amendment. See Fed. R. Civ. P. 4(k); Chloe v. Queen Bee of Beverly Hills, LLC,
616 F.3d 158, 163-65 (2d Cir. 2010); Grand Rivers Enters. Six Nations, Ltd. v.
Pryor, 425 F.3d 158, 165 (2d Cir. 2005).

ii. Discussion

Plaintiffs argue that Fed. R. Civ. P. 4(k)(1)(A)—which permits this Court to
exercise personal jurisdiction to the extent of the applicable New York statutes—
provides the basis for personal jurisdiction. The Court agrees with that assessment,
but finds two additional bases on which personal jurisdiction is proper: first, general
jurisdiction exists over Clearstream under Rule 4(k)(1)(A). Second, even if
jurisdiction is not proper under the New York long arm statute, Fed. R. Civ. P.
4(k)(2) provides an alternative basis for personal jurisdiction as to UBAE.

As to Rule 4(k)(1)(A)—the sole basis of jurisdiction asserted by plaintiffs—
this Court must determine whether either general or specific personal jurisdiction
exists under the relevant New York statutes.

a. General Jurisdiction under C.P.L.R. § 301

Under N.Y. C.P.L.R. § 301, “general jurisdiction is established if the
defendant is shown to have ‘engaged in continuous, permanent, and substantial
activity in New York.” See, e.g., United Mobile Technologies, LLC v. Pegaso PCS,
S.A. de C.V., 11-2813-CV, 2013 WL 335965 (2d Cir. Jan. 30, 2013). For general

jurisdiction over a foreign corporation, this requires a showing that the corporation

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is “doing business” in New York, “not occasionally or casually, but with a fair
measure of permanence and continuity.” See, e.g., Gallelli v. Crown Imports, LLC,
701 F.Supp.2d 263, 271 (E.D.N.Y. 2010)(quoting Hoffritz for Cutlery, Inc. v. Amajac,
Ltd., 763 F.2d 55, 58 (2d Cir. 1985)). The claim over which plaintiffs seek to assert
personal jurisdiction over the defendants need not relate to the activity that gives
rise to general jurisdiction. See Hoffritz for Cutlery, 763 F.2d at 58.

To determine whether a corporate defendant is “doing business” in New York,
courts look factors such as “the existence of an office in New York; the solicitation of
business in the state; the presence of bank accounts and other property in the state;
and the presence of employees of the foreign defendant in the state.” See Id.

b. Specific Jurisdiction under C.P.L.R. § 302(a)(1)
Even in the absence of the systematic presence needed for “doing business”

jurisdiction, a plaintiff may properly assert specific jurisdiction based on its

cee

“transacting business” in New York—i.e., where a defendant, itself “or through an
agent ... transacts any business within the state, so long as the plaintiff's ‘cause of

action aris[es] from’ that ‘transact[ion].”” See Licci ex rel. Licci v. Lebanese

Canadian Bank, SAL (hereinafter “Licci I”), 673 F.3d 50, 60 (2d Cir. 2012); Best Van

 

 

Lines, Inc. v. Walker, 490 F.3d 239, 240 (2d Cir. 2007).

 

To establish that an entity or its agent has transacted business within New
York, a plaintiff must demonstrate a defendant’s purposeful availment of the
privilege of conducting business in New York. Licci, 673 F.3d at 61. The central

inquiry relates to the “quality” of a defendant’s contacts with New York—ze.,

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whether the contacts indicate an intent to invoke the benefits and privileges of New
York law. Id.; see also Deutsche Bank Sec., Inc. v. Montana Bd. of Invs., 7 N.Y.3d
65, 72 (2006); see also Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985).

It is perhaps counterintuitive — but nonetheless well-established — that for
purposes of establishing that a defendant has “transacted business” within New
York, the defendant or its agent need not have physically entered New York; the
question is whether the defendant or its agent engaged in purposeful activities in
New York. See Best Van Lines, 490 F.3d at 249.

Purposeful availment is thus a fact-based inquiry: a single telephone call to
place a single order in New York that would be sent to another state or the
transitory presence of a corporate official may not be sufficient under certain

circumstances. LicciI, 673 F.3d at 62. Yet, in another case, Deutsche Bank, the

 

Court found that a sophisticated investor who may use electronic devices to “enter”
New York to conclude a substantial transaction, met the “transacting business”
requirement. 7 N.Y.3d at 72.

A court is thus required to look at the totality of the circumstances. See Licci
I, 673 F.3d at 62. Instructive in this regard—especially for this case—is the Second
Circuit’s recent opinion in LicciI. In Licci I, the Second Circuit certified to the New
York Court of Appeals the question of whether a defendant’s maintenance and
frequent use of a correspondent bank in New York (to effect international wire

transfers) met the requirements of the New York long-arm statute. Id. at 66. The

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New York Court of Appeals found that, under the circumstances there presented, it
did.

In certifying the question, the Second Circuit examined cases in which
personal jurisdiction was based on the use of a correspondent bank. It found that in
some instances the mere presence of having a correspondent bank account might be
insufficient to confer jurisdiction, id. at 63-64, yet in others the use ofa
correspondent bank account might be sufficient. Id.

For instance, in Amigo Foods Corp. v. Marine Midland-Bank-N.Y., 39 N.Y.2d
391, 394 (1976), an out-of-state bank passed letters of credit through a
correspondent New York bank. While the Appellate Division initially dismissed
such use as insufficient to meet the requirements of New York’s long-arm statute,
the Court of Appeals reversed and remanded for jurisdictional discovery. Id. at 396.
The Court of Appeals agreed that the mere presence of a correspondent bank in
New York was not in and of itself sufficient to confer jurisdiction, but it allowed
discovery as to whether there were other facts indicating sufficient use of the
correspondent bank account to do so. Id.

In a later case, the Court of Appeals found that use of a correspondent bank
in connection with securities transactions was sufficient to meet the requirements
of C.P.L.R. § 302(a). See Ehrlich-Bober & Co. v. Univ. of Houston, 49 N.Y.2d 574,
577, 580-82 (1980).

Similarly, the Court of Appeals upheld the exercise of personal jurisdiction

over a Russian bank that maintained and used a correspondent bank account

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through which it engaged in currency-exchange options transactions with the
plaintiff. See Indosuez International Finance B.V. v. National Reserve Bank, 98
N.Y.2d 238, 247 (2002).

In addition, the Second Circuit noted in Banco Ambrosiano v, Artoc Bank &
Trust, 62 N.Y.2d 65, 72 (1984) that the use of the correspondent account to effect
the transactions at issue in the lawsuit was sufficient to meet the requirements of

due process for quasi-in rem jurisdiction. Licci 1, 673 F.3d at 64. (The holding in

 

that case was based on considerations of due process; the Second Circuit found it
nonetheless relevant insofar as statutory and constitutional inquiries in New York
have become entangled. Id. at 64 (quoting from Best Van Lines, 490 F.3d at 242.))
Resolving any ambiguities in these cases, the Court of Appeals answered the
Second Circuit’s certified question in the affirmative; a defendant’s maintenance
and frequent use of a New York correspondent account can be sufficient for
“transacting business” jurisdiction under C.P.L.R. § 302(a). See Licci v. Lebanese

Canadian Bank, SAL (hereinafter “Licci II”), 2012 WL 5844997 (N.Y. Nov. 20,

 

2012).

The facts of Licci II bear certain similarities to those before this Court such

 

that they bear reciting in some detail. There, plaintiffs were several dozen
American, Canadian and Israeli citizens who were injured or whose family
members were injured or killed in rocket attacks allegedly launched by Hizballah in
2006. Id., at *1. Hizballah had been declared a terrorist organization by the United

States Department of State. Id. Plaintiffs commenced a lawsuit in the Southern

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District of New York against the Lebanese Canadian Bank, SAL (“LCB’), alleging
that LCB had assisted Hizballah in its terrorist acts by facilitating certain financial
transactions. LCB did not operate branches or offices, or maintain employees in
New York. Its sole “point of contact with the United States was a correspondent
bank account with AmEx in New York.” Id., at *2. The complaint alleged that LCB
used the correspondent bank account to transfer funds that enabled, inter alia, the
attacks which killed or injured plaintiffs or their relatives. Id.

In its analysis, the Court of Appeals acknowledged the fact-specific nature of
an inquiry as to whether personal jurisdiction can be based on maintenance and use
of a correspondent bank. Id., at *3. Ultimately the Court found that “complaints
alleging a foreign bank’s repeated use of a correspondent account in New York on
behalf of a client — in effect, a ‘course of dealing’... show purposeful availment of
New York’s dependable and transparent banking system, the dollar as a stable and
fungible currency, and the predictable jurisdictional and commercial law of the
United States.” Id., at *3. The Court further found that there had to be some
relatedness between the use of the correspondent bank and the claim at issue — the
claim could not be “completely unmoored” from the transaction utilizing the
correspondent account. In that case, the complaint alleged that LCB used the
correspondent account repeatedly to support a terrorist organization. Id. *4.

Under New York law, then, a foreign bank’s maintenance and use of a

correspondent account in New York can be sufficient to support personal

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jurisdiction, at least where transactions indicate purposeful availment of New
York’s banking system and those transactions relate to the claim at issue.
c. Statutory Jurisdiction under Rule 4(k)(2)

Even if personal jurisdiction under the C.P.L.R. is not proper, however, that
does not signify that a nondomiciliary entity is automatically outside this Court’s
jurisdiction. Assuming, arguendo, that no C.P.L.R.-based jurisdiction exists, to the
extent federal questions are at issue—and plaintiffs have asserted such questions
here—the Court might still exercise personal jurisdiction under the federal question
personal jurisdiction statute, Fed. R. Civ. P. 4(k)(2).

Rule 4(k)(2) subjects a defendant to this Court’s personal jurisdiction where
plaintiff demonstrates that (1) the claim arises under federal law; (2) the defendant
is not “subject to jurisdiction in any state's courts of general jurisdiction”; and (3)
the exercise of jurisdiction is “consistent with the United States Constitution and
laws” — e.g., 1t comports with due process. See Porina v. Marward Shipping Co..,
Ltd., 521 F.3d 122, 127 (2d Cir. 2008).

As with 4(k)(1)(A) jurisdiction, plaintiff need only raise a prima facie case
that 4(k)(2) jurisdiction is proper to survive a Rule 12(b)(2) motion to dismiss. See,
e.g., Catlin Ins. Co. UK) Ltd. v. Bernuth Lines Ltd., 12-1773-CV, 2013 WL 406273

(2d Cir. Feb. 4, 2013)(stating prima facie standard in context of 4(k)(2) analysis).

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d. Due Process Analysis

If this Court determines that statutory jurisdiction—either under Rule
4(k)(1) or Rule 4(k)(2)—is proper, it must finally ask whether such jurisdiction
comports with due process.

1. Minimum contacts

In doing so, the Court first asks whether sufficient minimum contacts exist
between that nonresident defendant and either New York (under Rule 4(k)(1)) or
the United States generally (under Rule 4(k)(2)), such that maintenance of the suit
does not offend traditional notions of fair play and substantial justice.

International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945); Worldwide
Volkswtagen Corp. v. Woodson, 444 U.S. 286, 291 (1980).

The minimum contacts necessary to comport with the New York
jurisdictional statutes, C.P.L.R. §§ 301 and 302, necessarily comport with the Due
Process Clause since New York law requires a greater showing of minimum
contacts than would be required by the Due Process Clause alone. See Licci I, 673
F.3d at 60-61 (“The New York long-arm statute does not extend in all respects to the
constitutional limits established by International Shoe.”) Thus, the “purposeful
availment” analysis for specific jurisdiction under C.P.L.R. 302(a) satisfies a similar
purposeful availment analysis under the Due Process Clause. See Burger King
Corp., 471 U.S. at 472 (setting forth purposeful availment standard under the Due

Process Clause).

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In contrast, the “minimum contacts” prong for federal question personal
jurisdiction under Rule 4(k)(2) focuses on whether the defendant “has the requisite
aggregate contacts with the United States” as a whole. Eskofot A/S v. E.I. Du Pont
De Nemours & Co., 872 F. Supp. 81, 87 (S.D.N.Y. 1995). The Second Circuit has
held that those contacts may be satisfied by “1) transacting business in the United
States, (2) doing an act in the United States, or (3) having an effect in the United
States by an act done elsewhere.” See Id. at 87 (citing Leasco Data Processing
Equipment Corp. v. Maxwell, 468 F.2d 1326, 1340 (2d Cir.1972)).

2. Reasonableness Factors

Lastly, if the defendant has sufficient minimum contacts, the Court must also
determine that the exercise of personal jurisdiction over this defendant is
reasonable. Chloe, 616 F.3d at 172-73; MacDermid, 702 F.3d. at 730-31. The
Supreme Court has established five factors this Court must consider in order to
determine whether the exercise of personal jurisdiction is reasonable:

1. The burden on the defendant;

2. The interests of the forum State

3. The plaintiffs’ interests in obtaining relief;

4. The interstate judicial system’s interest in obtaining the most efficient

resolution of controversies; and

5. The shared interest of the Several States in furthering substantive social

policies.
Asahi Metal Indus, Co. v. Superior Court, 480 U.S. 102, 113-14 (1987); Chloe, 616
F.3d at 172-73.

The mere fact that a defendant is foreign and would have to travel to New

York is insufficient to defeat a finding of reasonableness. See MacDermid, 702 F.3d

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at 730-31 (holding that the fact that defendant was Canadian was insufficient to
defeat minimum contacts; the defendant’s act of accessing a computer server located
within New York from outside the state satisfied the minimum contacts
requirement); Kernan v. Kurz-Hastings., Inc., 175 F.3d 236, 244 (2d Cir.
1999)(holding that burden on Japanese defendant to defend suit in the United
States was insufficient to overcome its minimum contacts — particularly in light of
the ease of modern travel and communication).
e. Personal Jurisdiction over UBAE

UBAE asserts that plaintiffs are unable to make out a prima facie basis for
personal jurisdiction. This Court disagrees. Plaintiffs have alleged sufficient facts
which, when analyzed against the legal framework set forth above, leave no doubt
that either specific jurisdiction over UBAE exists pursuant to C.P.L.R. 302(a)(1) or,
in the alternative, that jurisdiction exists under the federal question provision, Rule
A(k)(2).

1. Specific Jurisdiction

Plaintiffs base personal jurisdiction as to UBAE on the New York long-arm
statute, C.P.L.R. § 302. They suggest that jurisdiction is proper under the
“transacting business” provision, § 302(a)(1), as well as the provisions for personal
jurisdiction based on tortious acts committed within New York, C.P.L.R. § 302(a)(2),
and those committed without New York, C.P.L.R. § 302(a)(3)@i). The Court need
not address the tortious acts basis for specific jurisdiction since plaintiffs clearly

make out a prima facie case of “transacting business” jurisdiction.

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While the parties do not agree as to how and why certain transactions
relating to the bonds were structured and occurred as they did, the allegations in
the complaint, UBAE’s factual concessions contained in the Matranga declaration
(ECF No. 95), and the materials presented in the Vogel Declaration in opposition to
UBAE’s Rule 12(b)(2) motion (ECF No. 328) are sufficient to meet the standard for
“transacting business” in New York.

UBAE admits that a series of acts occurred relating to the Markazi Bonds —
but it argues that those acts all occurred outside of the United States, and further,
that UBAE has no presence in the United States at all. (See Matranga Decl. { 3
(“UBAE did not advertise, solicit business, or market its services in New York, or
anywhere in the United States.”) In this regard, UBAE asserts that it followed
Bank Markazi’s directive to sell two of the Markazi Bonds securities with a
combined face value of $250 million. (Matranga Reply Decl. { 7.) Though the
securities were physically held in New York, UBAE would work exclusively from
Luxembourg to buy the $250 million in securities from Bank Markazi and negotiate
a higher price on the open market. (Id. { 8.) It would then pocket the difference
between the two as its fee. (1d.)

While the structure of the transaction did not cause UBAE to send personnel
into New York, UBAE ignores the crucial fact that the bonds were physically
located in New York at the time of sale; therefore, by definition UBAE engaged in
sales transactions for bonds physically located in New York. In addition, plaintiffs

present evidence from UBAE’s own sales records that indicate that UBAE

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distributed sales proceeds and interest payments from the Markazi Bonds via its
correspondent account at HSBC in New York. (See Decl. of Liviu Vogel in Opp. to
UBAE Mot. to Dismiss (“Vogel UBAE MTD Decl.”) Exs. C-F.)

This pathway of proceeds through New York is enough to constitute § 302
“transacting business”. N.Y. C.P.L.R. § 302(a)(1). The fact that UBAE may have
been making all of the arrangements relating to the sales outside of the U.S. cannot
erase the fact that the bonds and proceeds relating thereto physically transferred in
New York. UBAE used its correspondent account to process the proceeds of the sale
because it offered the stability and security of the New York banking laws—
purposeful availment analogous to that in Licci I.

Finally, UBAE argues that since it was unaware of plaintiffs’ judgment until
June 2008, there cannot be any causal connection between its March 2008 actions
and trying to avoid that judgment. This argument also fails. The New York long-
arm statute provides that an entity or its agent may engage in conduct which
supports jurisdiction. See, e.g., Kreutter v. McFadden Oil Corp., 71 N.Y.2d 460, 467
(N.Y. 1988)(finding C.P.L.R. § 301(a)(1) jurisdiction proper where corporation never
entered New York, but its agent engaged in “purposeful activities in this State in
relation to his transaction for the benefit of and with the knowledge and consent [of
the corporation] .. . and that they exercised some control over [the agent].”)

Even if UBAE itself was not transacting business in New York, its agents
most certainly were. Plaintiffs have sufficiently alleged, and the facts in the record

support, that Bank Markazi and Clearstream were aware of plaintiffs’ judgments at

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the time that UBAE was engaged to open an account and engage in a sale
transaction on behalf of Bank Markazi. (SAC 9§ 138, 15, 24, 37, 41.) UBAE’s own
concession that Clearstream was acting on its behalf in the United States and its
more recent statements in opposition to plaintiffs’ motion for partial summary
judgment? are sufficient to support an agency relationship. (See Matranga Reply
Decl. 7 8-10.)
2. Rule 4(k)(2) Jurisdiction

By arguing that it has no presence in the United States and did not engage in
transactions in New York sufficiently related to the instant dispute to constitute
“transacting business” jurisdiction, however, UBAE has in fact established the
necessary predicate for personal jurisdiction pursuant to Fed. R. Civ. P. 4(k)(2). It
is undisputed that this case raises federal claims—the execution of the judgments
obtained by plaintiffs is governed by federal laws FSIA, TRIA, E.O. 13599, and 22
U.S.C. § 8772. Rule 4(k)(2) applies to just such situations.6 UBAE argues
strenuously that it has no presence in the United States that would subject it to
general personal jurisdiction in any state. (See Matranga Decl. { 4.) Provided that
exercising jurisdiction over UBAE anywhere in the United States comports with

due process, in personam jurisdiction in this Court is proper. Fed. R. Civ. P. 4(k)(2).

 

5 In its summary judgment opposition brief, UBAE admits both that it “has not asserted a legally
cognizable interest in the restrained bonds” and that “UBAE is not in ‘possessior’ or ‘custody’ of any
of the restrained bonds.” (UBAE Sd Opp. Br. at 2.)

6 As stated above, Rule 4(k)(2) provides: “For a claim that arises under federal law, serving a
summons or filing a waiver of service establishes personal jurisdiction over a defendant if: (A) the
defendant is not subject to jurisdiction in any state's courts of general jurisdiction; and (B) exercising
jurisdiction is consistent with the United States Constitution and laws.” Fed. R. Civ. P. 4(k)(2).

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3. Due Process Analysis

Indeed, under the New York long-arm statute—and thus under the Due
Process Clause itself—there are sufficient minimum contacts (under International

Shoe and its progeny) between New York / the United States and UBAE to exercise

 

jurisdiction, and doing so would undoubtedly be reasonable.

First, UBAE itself has conceded that it uses the services of its correspondent
bank on a daily basis to manage its U.S. dollar holdings. (See Matranga Decl. {§ 5-
6.) In addition, its actions with respect to the bonds were aimed at New York — and
it caused transfers between a number of New York financial institutions in order to
complete (e.g. the FBNY, DTC, Citibank, JP Morgan Chase, just to name those as to
which even UBAE cannot assert a lack of involvement.)

The Asahi “reasonableness” factors are also met both for jurisdiction
pursuant to Rule 4(k)(2) and/or pursuant to New York’s long arm statute. The
burden on UBAE of defending this suit is minimal in comparison to the interests of
New York and the United States in providing a forum to adjudicate disputes over
bond proceeds physically located in New York. In addition, plaintiffs have a strong
interest in—and right to—seek relief from Iran. That relief would be stymied if
UBAE, acting as agent of Bank Markazi, was able to take those precise acts Bank
Markazi would have taken with respect to the Blocked Assets present in New York,
but evade jurisdiction here. Likewise, bringing UBAE before this court will enable

efficient resolution of plaintiffs’ claims as to these assets in a single proceeding,

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putting an end to the years of disjointed litigation and delays. Finally, only by
subjecting UBAE to this Court’s jurisdiction will the Court be able to enforce the
policies behind the anti-terrorism provisions of FSIA, TRIA and Section 8772—as
Congress clearly intended.

As the requirements of the Due Process Clause are met with respect to
UBAE, this Court therefore finds that plaintiffs make out a prima facie case of
specific personal jurisdiction under Fed. R. Civ. P. 4(k)(1)(A), incorporating C.P.L.R.
§ 302(a). In the alternative, Rule 4(k)(2) jurisdiction is proper. UBAE’s Rule
12(b)(2) motion to dismiss is denied.

f. Analysis regarding Clearstream

Clearstream’s motion to dismiss for lack of personal jurisdiction also fails. As
an initial matter, it is rather remarkable that Clearstream has spent the time to
make such an argument given the existence and persistence of its New York
operations supportive of its overall business. The Court finds that there are bases
to suggest both general jurisdiction and specific jurisdiction over Clearstream under
Rule 4(k)(1).7

Clearstream is clearly doing business in New York and thus subject to
general jurisdiction under C.P.L.R. § 301. For such a determination it is
unnecessary that Clearstream conduct all of its business in New York — or even that
the specific facts relating to the issues in this case relate to specific acts taken in

New York. See Gelfand v. Tanner Motor Tours, Ltd., 385 F.2d 116, 121 (2d Cir.

 

7 A basis for Rule 4(k)(2) jurisdiction may also exist over Clearstream, but—unlike UBAE—
Clearstream has not alleged that it cannot be subject to general personal jurisdiction in any U.S.
jurisdiction—a prerequisite for 4(k)(2) jurisdiction.

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1967)(“[A] foreign corporation is doing business in New York ‘in the traditional
sense’ when its New York representative provides services beyond ‘mere solicitation’
and these services are sufficiently important to the foreign corporation that if it did
not have a representative to perform them, the corporation's own officials would
undertake to perform substantially similar services.”). It is enough that as a
general matter it is in fact doing business in New York. This is evidenced by the
presence of a Clearstream office in New York, which employs Clearstream
employees for the purpose of obtaining and also supporting business for
Clearstream Luxembourg from New York. As the evidence demonstrates,
Clearstream in New York is not merely soliciting business—it provides support
services for its Luxembourg operations and is part of Clearstream’s overall strategy
to “provide[ ] global services to the securities industry . . . close to its customers in
all major time zones”. (See Letter of Liviu Vogel to Hon. Barbara S. Jones Ex. 1 at
2, Aug. 14, 2009, ECF No. 178.) These activities demonstrate the “permanence and
continuity” required for § 301 general jurisdiction. Cf. Hoffritz for Cutlery, Inc. v.
Amajac, Ltd., 763 F.2d at 58 (finding no general § 301 jurisdiction where
nonresident defendant lacked an office in New York, did not solicit business in the
state and did not have bank accounts, other property or employees in the state).

However, even if this Court were to analyze whether there is a sufficient
basis for long-arm jurisdiction over Clearstream Luxembourg, the answer would
still clearly — and resoundingly — have to be “yes.” Clearstream Luxembourg’s

contacts with New York relate directly to plaintiffs’ allegations regarding the

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Markazi Bonds that were maintained at the FBNY and DTC in New York. Even if
this Court were to ignore the presence of Clearstream’s office on Broad Street in
New York, the fact that Clearstream Luxembourg engaged in a series of financial
transactions over an extended period of time with regard to these New York based
bonds would require a finding of sufficient “transacting business” for long-arm
jurisdiction under C.P.L.R. § 302(a)—and, necessarily, also a finding of sufficient
minimum contacts to satisfy due process.

That transaction of business is clear from Clearstream’s innumerable acts to
maintain its New York-based Citibank account. It has repeatedly communicated
with Citibank about the Blocked Assets and arranged for various transactions with
Citibank. (See, e.g., Decl. of Liviu Vogel in Opp. to Clearstream’s Mot. to Vacate
Restraints (“Vogel Vacate Restraints Opp. Decl.”) Exs. 4, 16, ECF No. 299.). It is
irrelevant whether its New York office had anything to do with those actions. It is
enough that Clearstream’s Luxembourg operations repeatedly had contacts with
New York by virtue of its account at Citibank — and that the account has, at all

relevant times, been connected with the Blocked Assets. See Licci II, 2012 WL

 

5844997 (“[T]he ‘arise-from’ prong [of C.P.L.R. § 302(a)(1)] limits the broader
‘transaction-of-business’ prong to confer jurisdiction only over those claims in some
way arguably connected to the transaction.”).

Finally, applying the Asahi factors suggests that exercising personal

 

jurisdiction with respect to Clearstream is reasonable. The interests with respect to

Clearstream are nearly identical to those for UBAE. And the burden on

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Clearstream to defend a suit in this Court is minimal given Clearstream’s
continuous and systematic contacts with New York.

Clearstream is subject to this Court’s general personal jurisdiction and, in
the alternative, plaintiff makes out a prima facie case of “transacting business”
jurisdiction under the New York long-arm statute. Clearstream’s Rule 12(b)(2)
motion to dismiss is denied.

B. Bank Markazi’s Motion to Dismiss

Bank Markazi has moved to dismiss plaintiffs’ claims on the basis of a lack of
subject matter jurisdiction, pursuant to Fed. R. Civ. P. 12(6)(1). Bank Markazi
argues that (1) plaintiffs’ TRIA § 201 claim raises a non-justiciable political
question, (2) that the assets are technically not “of’—.e., not owned by—Bank
Markazi, (3) that the situs of the bonds is outside the jurisdiction of this Court, (4)
that execution would violate U.S. obligations under the 1955 Treaty of Amity,
Economic Relations and Consular Rights between the United States and Iran
(“Treaty of Amity”), Aug. 15, 1955, 8 U.S.T. 899, and finally (5) that the assets are
immune central banking assets under FSIA § 1611(b)(1).

i. Rule 12(b)(1) Standard of Review

Federal district courts are courts of limited jurisdiction. Challenges to a
court’s subject matter jurisdiction are challenges to the ability of the Court to
entertain an action in the first instance. The party invoking federal subject matter
jurisdiction bears the burden of establishing that jurisdiction exists bya

preponderance of the evidence. See Lujan v. Defenders of Wildlife, 504 U.S. 555,

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561 (1992); Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000).
Determining the existence of subject matter jurisdiction is a threshold inquiry; a
case is properly dismissed under Fed. R. Civ. P. 12(b)(1) when the district court
lacks the constitutional power to adjudicate it. See Arar v. Ashcroft, 532 F.3d 157,
168 (2d Cir. 2008).

A defendant may challenge either the legal or factual sufficiency of plaintiffs’
assertion of jurisdiction. Nat. Union Fire Ins. Co. of Pittsburgh v. BP Amoco PLC,
319 F.Supp.2d 352, 371 (S.D.N.Y. 2004). In determining whether this Court has
subject matter jurisdiction over plaintiffs’ actions, it must accept as true all
material factual allegations in the SAC, but because jurisdiction must be shown
affirmatively, this Court must refrain from drawing inferences favorable to the
parties asserting jurisdiction (here, plaintiffs). See APWU v. Potter, 348 F.3d 619,
623 (2d Cir. 2003). The Court can resolve disputed factual issues by reference to
evidence outside of the pleadings. See Flores v. Southern Peru Copper Corp., 343

F.3d 140, 161 n.30 (2d Cir. 2003); see also Makarova, 201 F.3d at 113.

 

ii. Analysis as to Bank Markazi
An analysis of the facts regarding the actions and assets of Bank Markazi in
this district leaves no serious doubt that this Court has subject matter jurisdiction.
1. Political Question
Courts lack authority to decide non-justiciable political questions. Zivotofsky

ex rel. Zivotofsky v. Clinton, 132 S. Ct. 1421, 1427, 182 L. Ed. 2d 423 (2012). Bank

 

Markazi argues that the European Union's (“E.U.”) blocking regime has frozen all

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assets of the Central Bank of Iran and thereby created a non-justiciable political
question with respect to any action this Court might take under U.S. law that would
impact the holders of the Blocked Assets under European law.

In 2010, the E.U. enacted regulations that froze “all funds and economic
resources belonging to, owned, held or controlled by the persons, entities and bodies
listed in [certain annexes].” See Council Regulation (EU) No. 961/2010, Article
16(1)-(8). These regulations also provide that “no funds or economic resources shall
be made available, directly or indirectly, to or for the benefit of the natural or legal
persons, entities or bodies listed in [certain annexes] ”” Id.

Bank Markazi was not listed on the original annexes. However, on January
24, 2012—just prior to the issuance of E.O. 13599 in the United States—it was
added. See Council Implementing Regulation (EU) No. 54/2012 of January 23,
2012, Article 1.1 (Annex Vill § 51).

In addition, article 23(2) of an EU regulation passed in March 2012
consolidated previous regulations and explicitly maintained the freeze on assets of
the Central Bank of Iran. Council Regulation (EU) No. 267/2012, Arendt IIT §{51-
52 & Exh. J. The freezing of funds prevents “any move, transfer, alteration, use of,
access to, or dealing in funds in any way that would result in any change in their
volume, amount, location, ownership, possession, character, destination, or other

change that would enable the funds to be used, including portfolio management.”

Id.

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According to Bank Markazi, the EU regulations change everything. It argues
that, even assuming that the Blocked Assets are assets “of? Bank Markazi (which,
as discussed below, it argues is incorrect), the EU blocking regime presents direct
competition with E.O. 13599—competition that implicates foreign relations
concerns and must be resolved by the political—not judicial—branches of
government. (See Bank Markazi Reply Mem. in Support of Mot. to Dismiss
(“Markazi MTD Reply”) at 3-4 (adopting Clearstream Reply Memorandum in
Support of its Renewed Mot. to Vacate Restraints (“Clearstream Mot. to Vacate
Reply”) at 9-16, ECF No. 220).)

The facts giving rise to this conflict are both simple and technical: a debit to
the Blocked Assets in Clearstream’s Omnibus Account at Citibank in New York by
virtue of turnover would require a corresponding debit in Clearstream’s
Luxembourg account — constituting a direct violation of the EU Regulation. §

In connection with this motion only, in order to allow the Court to decide the
issue, Bank Markazi affirmatively makes the following factual assumptions: that
the underlying beneficial owner of the Blocked Assets is Bank Markazi, that Bank
Markazi’s transfer to UBAE has been “yndone” such that the assets remain in an
account between Clearstream and Bank Markazi, that this Court can exercise
personal jurisdiction over Clearstream in New York, and that all of the other
actions by other banks and issuers occurred in New York. (See Id. at 4-6 (argument

adopted by Bank Markazi as explained in Clearstream brief).)

 

8 Markazi—via Clearstream—argues that the debit would constitute a “change in volume, amount,
location, ownership, possession, character, [or] destination” of the Blocked Assets. (See Clearstream
Vacate Restraints Reply Br. at 13.)

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2. Political Question Analysis
The E.U. and U.S. blocking regimes are not here in “competition”, and they
do not create a non-justiciable political question.
Whether or not a question is “political,” and therefore non-justiciable, is
determined by reference to six factors:
[(1)] a textually demonstrable constitutional commitment of the issue to a
coordinate political department; or [(2)] a lack of judicially discoverable
and manageable standards for resolving it; or [(8)] the impossibility of
deciding without an internal policy determination of a kind clearly for
non-judicial discretion; or [(4)] the impossibility of the court’s undertaking
independent resolution without expressing lack of respect due coordinate
branches of government; or [(5)] an unusual need for unquestioning
adherence to a political decision already made; or [(6)] the potentiality of
embarrassment from multifarious pronouncements by various
departments on one question.

Baker v. Carr, 369 U.S. 186, 217 (1962); see also 767 Third Ave. Assocs. V.

Consulate Gen. of Socialist Fed. Republic of Yugoslavia, 218 F.3d 152, 160 (2d Cir.

2000).

Bank Markazi argues that the EU and U.S. blocking regimes raise important
questions of foreign relations, lack judicially manageable standards, and generally
raise Baker v. Carr concerns. This Court disagrees.

To the extent that the differential treatment of the assets of terrorist states
raises foreign relations concerns, the executive and legislative branches have
demonstrated a clear intent that not only permits but affirmatively encourages the

judiciary to resolve the issues surrounding restraint and turnover of such assets.

Ag set out above, the sheer multitude of statutory and executive pronouncements

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directly and unquestionably applicable to the motions before this Court makes any
political question argument baseless.

Bank Markazi can point to no aspect of the Constitution that commits the
treatment of a hypothetical turnover of U.S.-based assets by a foreign legal system
to a “coordinate political department”. Instead, Congress and the President agree
that it is the province of the judiciary to determine the effect, if any, of these
competing regimes: provisions of the FSIA, as described above, enable courts to
enforce judgments against sovereigns when those judgments relate to acts of
terrorism; TRIA allows a court to execute against blocked assets of a terrorist party;
E.O. 13599 provides that assets of Iran and the Central Bank of Iran are blocked;
the SDN list indicates that Iran and Bank Markazi are on the list of blocked
terrorist organizations; and finally, the most recent pronouncement, 22 U.S.C. §
8772, specifically provides that the assets at issue in this very lawsuit are subject to
execution and attachment in aid of execution.

Nor can there be a suggestion of a lack of judicially manageable standards to
resolve the potential friction between the U.S. and E.U. regimes. Congress enacted
22. U.S.C. § 8772 in August 2012 — well after March 2012, when the EU
promulgated the last of its blocking Regulations referred to by Clearstream.
Congress certainly could have altered the statute in light of the E.U. regulations; it
chose not to do so.

Instead, § 8772 gives this Court clear standards to rule on the questions

before it with respect to these very assets. The statute spells out specific

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requirements for judicial determinations as to whether a non-Iranian entity has a
constitutionally protected interest in the assets, or holds equitable or beneficial title
or interest in the assets. See 22 U.S.C. § 8772(a)(2). Together, these various
statutes and orders require this Court to find that it should rule on the very
questions here presented. In addition, of course, it cannot be that a court must
refrain from adjudicating a dispute where the potential exists for a foreign legal
regime to impose penalties on a litigant based on the U.S. court’s decision. Foreign
ramifications alone do not create a non-justiciable political question. And they do
not here.
3 Ownership of the Blocked Assets

Bank Markazi next argues that the Blocked Assets are not assets “of” Bank
Markazi. Bank Markazi states a showing of ownership is required for subject
matter jurisdiction under TRIA § 201(a).°

Even if Bank Markazi were correct regarding TRIA (and it is not), that does
not mean this court lacks subject matter jurisdiction. The 2012 Act, § 8772,
specifically trumps “any other provision of law” and specifically permits execution
on the assets specifically at issue in this litigation, rendering moot any ambiguity in
TRIA. 22 U.S.C. § 8772(a)(1).

Even in the absence of § 8772, however, this Court finds that TRIA provides
for subject matter jurisdiction with respect to Bank Markazi. It is true that TRIA

authorizes execution of assets “of a terrorist party. See 28 U.S.C. § 1610 n.

 

9 Section 201(a) refers to attachment only of the “blocked assets of th[e] terrorist party” (emphasis
added).

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(2006)(“[I]n every case in which a person has obtained a judgment against a
terrorist party . . . the blocked assets of that terrorist party ... shall be subject to
execution... .”(emphasis added). In the case of the Blocked as Assets here at
issue, Bank Markazi is the only owner. Clearstream in whose name the Citibank
account is listed—never claims it “owns” the assets. UBAE argues it has acted with
respect to the assets merely on behalf of Bank Markazi. (See UBAE SJ Opp. Br. at 2
(stating UBAE “has not asserted a legally cognizable interest in the restrained
bonds” and that “UBAE is not in ‘possession’ or ‘custody’ of any of the restrained
bonds”); Matranga Reply Decl. {{[ 7-10.) Citibank states that it is a neutral
stakeholder. (See Letter of Sharon L. Schneier to the Hon. Katherine B. Forrest,
Dec. 14, 2012, ECF No. 300).

Bank Markazi has repeatedly conceded at a variety of times in connection
with this litigation—and Clearstream has stipulated for the limited purpose of
resolving its motion to vacate the restraints, infra—Bank Markazi is “the” sole

beneficial owner of the assets.10

 

10 Bank Markazi has stated that “Over $1.75 billion in securities belonging to Bank Markazi . . . are
frozen in a custodial Omnibus Account at [Citibank]”; that the “Restrained Securities are the
property of Bank Markazi, the Central Bank of Iran”, that the “aggregate value of the remaining
bond instruments, i.e. the Restrained Securities that are the property of Bank Markazi and the
subject of the Turnover Action — is thus $1.753 billion”; that the “Restrained Securities are the
property of a Foreign Central Bank...”; that the “Restrained Securities are presumed to be the
property of Bank Markazi”; and “the Restrained Securities are prima facie the property of a third
party, Bank Markazi... ” (See Bank Markazi’s First Mem. of L. in Support of its Mot. to Dismiss
the Am. Compl., May 11, 2011, ECF No. 18 (““Markazi’s First MOL”), at 1, 5, 9, 10, 36 (emphases
added).) In addition, two officers of Bank Markazi have sworn under penalty of perjury that the
Blocked Assets are the “sole property of Bank Markazi and held for its own account.” (Aff. of
Gholamossein Arabieh { 2, Vogel Decl. Ex. J, Oct. 17, 2010, ECF No. 210; Aff. of Ali Asghar
Massoumi § 2, Vogel Decl. Ex. K, Oct. 17, 2010, ECF No. 210).

AT
Bank Markazi suggests that Judge Cote’s decision in Calderon-Cardona v.

 

JPMorgan Chase Bank, N.A., 867 F. Supp. 2d 389, 400 (S.D.N.Y. 2011), counsels a
different result.!! This Court disagrees.
The Court in Calderon-Cardona held that electronic funds transfers (““EFTs”)

allegedly related to North Korea were not subject to attachment under TRIA and

 

the FSIA. It is distinguishable in several respects: first, the Calderon-Cardona
decision related to mid-stream EFTs—rapid funds transfers between a sending and
receiving bank, processed by an intermediary bank—rather than the static proceeds

of financial instruments. Id. A significant question in Calderon-Cardona was

 

whether the EFT's were “owned” by North Korea at the time of the transfers. Id. In
finding no such ownership, the Court noted Second Circuit precedent holding that—
according to New York law— “HFTs are neither the property of the originator nor
the beneficiary while briefly in the possession of an intermediary bank.” Id. at 400
(citing Shipping Corp. of India Ltd. v. Jaldhi Overseas Pte Ltd., 585 F.3d 58, 71 (2d
Cir.2009)). Even if North Korea was the originator or beneficiary, then, it could not
be the “owner” of the EFTs for the purposes of TRIA. Id. The Court concluded that
“t]he petitioners have pled no facts... indicating that North Korea has an interest
in any of the blocked accounts that exceeds that of an originator or beneficiary in a
midstream EFT.” Id. at 407.

In contrast, here, nearly $2 billion in bond proceeds is sitting in an account in

New York at Citibank—there are no fleeting or ephemeral interests like those that

 

11 Ags with the political question arguments, Markazi expressly adopted this argument from
Clearstream’s memoranda in support of its motion to vacate the restraints. (See Markazi MTD

Reply at 5.)
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occur in EFTs. The only entity with any financial interest in the funds in the
account is Bank Markazi—as it has stipulated for the purposes of this motion, but
also as it has repeatedly asserted. Clearstream has no such interest; UBAE’s
interest is analogous to that of Clearstream (and, as it states, it has no legally
cognizable interest). Any possible contrary interpretation under state law is
expressly preempted by the express language of § 8772.

Accordingly, on these facts, this Court need not choose whether it is

necessary to follow the Calderon-Cardona rationale or those of the other cases in

 

this District involving EFTs. See, e.g.. Hausler v. JP Morgan Chase Bank, N.A.
(hereinafter “Hausler 1’), 740 F.Supp.2d 525 (S.D.N.Y. 2010); Hausler v. JP Morgan

Chase Bank, N.A. (hereinafter “Hausler IT”), 845 F.Supp.2d 553 (S.D.N.Y. 2012);

 

Levin v. Bank of N.Y., No. 09 Civ. 5900, 2011 WL 812032 (S.D.N.Y. Mar. 4, 2011).
All of the EFT cases attempt to answer whether transfers between financial
institutions that pass through a banking institution within the U.S. are nonetheless
“assets of’ the terrorist party to whose benefit the transfers may ultimately inure.
See, e.g., Hausler I, 740 F.Supp.2d at 526; Hausler II, 845 F.Supp.2d at 558-561;
Levin, 2011 WL 812032, at *11. Only one of the cases—Levin—dealt with any
proceeds of financial instruments; the Court in Levin issued a turnover order for
those assets. See Levin, 2011 WL 812032, at *20-21 (finding no bar under New

York law to turnover of non-EFT accounts allegedly owned by instrumentalities of

Iran).

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A. Location of the Blocked Assets and Treaty of Amity

Markazi’s remaining arguments—(1) that the bonds are not located in the
United States and therefore cannot be executed upon under FSIA and (2) that
blocking the assets violates U.S. treaty obligations—fail for the same reason: 22
U.S.C. §8772 obviates any need for this Court to rely on TRIA or the Treaty of
Amity for resolution of this motion.

However, even if this Court were to ignore § 8772, the arguments nonetheless
fail.

First, Bank Markazi argues that the Markazi Bonds are located in
Luxembourg and thus outside this Court’s jurisdiction. (See Markazi MTD Reply
Br. at 6.) They cite this Court’s decision in a related case, Bank of Tokyo-
Mitsubishi, UFJ, Ltd. New York Branch v. Peterson, No. 12 Civ. 4038 (BSJ), 2012
WL 1963382, at *2 (S.D.N.Y. May 29, 2012), for the proposition that assets held
outside the United States are not subject to execution.

This “extra-territoriality” argument assumes that the Blocked Assets are
located outside of the United States. This argument is sophistry: the Blocked
Assets are located in a bank account at Citibank in New York (additional assets
relating to the now liquidated $250 million in Markazi Bonds do not appear to be in
New York, but their location is irrelevant to the resolution of this motion). It may
well be that there are account entries on the books of entities in Europe — such as

Clearstream Luxembourg — relating to the Blocked Assets. But the mere fact that

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the account at Citibank is listed under the Clearstream and UBAE names does not
alter the fact that those entities are agents of Bank Markazi. Nor do mere book
entries in Luxembourg transform the Citibank New York account into assets
located in Luxembourg.”

In addition, the Treaty of Amity provides no barrier to subject matter
jurisdiction. Bank Markazi argues that Arts. III.2 and IV.1 of the Treaty entitle it
to separate juridical status from Iran and, as such, its assets cannot be seized to
satisfy a judgment against the sovereign state. (Markazi MTD Br. at 22.)

The treaty is inapplicable. First, irrespective of any interpretation of the
language of the Treaty, in Weinstein v. Islamic Republic of Iran, 609 F.3d 43, 53 (2d
Cir. 2010) the Second Circuit stated that the phrase “notwithstanding any other
provision of law” in FSIA effectively trumps any conflicting law. As to the textual
interpretation of the Treaty itself, the Weinstein Court held that the Treaty of
Amity provisions cited by Bank Markazi are inapposite; the purpose behind the
Treaty of Amity was “simply to grant legal status to corporations of each of the
signatory countries in the territory of the other, thus putting the foreign
corporations on equal footing with domestic corporations.” Id. at 53. There is no
basis to find that the Treaty was intended to be used or has been used to aid
instrumentalities of foreign governments to circumvent congressional acts or

authorized legal actions.

 

12 This is particularly true in light of 22 U.S.C. 8772, its preemption of any contrary law, and its
required narrow judicial determinations.

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Lest any ambiguity remain, Congress inserted an additional
“notwithstanding” clause in 22 U.S.C. § 8772(a)(1). That clause evinces clear
Congressional intent to abrograte treaty language inconsistent with FSIA and §
8772. Id. (noting Circuit Courts have interpreted similar “notwithstanding”
clauses to abrogate treaty language). To do otherwise would render FSIA a dead
letter—something Congress and the President clearly did not intend.

Thus, the plain language of the Treaty of Amity renders it inapplicable to the
Blocked Assets and, further, Congress has abrogated any application of the Treaty
in the FSIA context.

5. Central Bank Immunity

Bank Markazi’s final set of arguments assert FISA § 1611(b)(1) immunity
from attachment for assets used for central banking purposes. FSIA § 1611(b)(1)
provides that “the property ...ofa foreign central bank or monetary authority held
for its own account” is entitled to immunity from attachment and execution. The
Court only has jurisdiction to hear a turnover action for sovereign assets where a
valid exception to FSIA exists; the central banking rule negates any FSIA
exception. See Aurelius Capital Partners, LP v. Republic of Argentina, 584 F.3d
120, 129-30 (2d Cir. 2009)(citing FSIA § 1609).

Again, even if the Blocked Assets were, in fact, “held for [the central bank’s]
own account,” TRIA § 201(a), E.0. 13599, and 22 U.S.C. § 8772 expressly preempt
any immunity.

Congress is presumed to be aware of its previous enactments when it passes

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a new statute. See Vimar Seguors y Reaseguros, S.A. v. M/V Sky Reefer, 515 U.S.
528, 554 (1995)(citing Cannon v. Univ. of Chicago, 441 U.S. 677, 696-699 (1999)).
TRIA’s “notwithstanding” clause—enacted well after § 1611(b) was adopted in
1976—thus preempts central bank immunity to the extent it would apply. TRIA §
201(a). As the Supreme Court has observed, “a clearer statement” of intent to
supersede all other laws than a “notwithstanding clause” is “difficult to imagine”
Cisneros v. Alpine Ridge Group, 508 U.S. 10, 18 (1993).

Beyond the statutory language, E.O. 13599 suggests that Bank Markazi is
not engaged in activities protected by § 1611(b), and thus is not entitled to
immunity. The Order makes a finding that Bank Markazi'’s assets are blocked “in
light of the deceptive practices of [Bank Markazi] and other Iranian banks to
conceal transactions of sanctioned parties ... and the continuing and unacceptable
risk posed to the international financial system by Iran’s activities...” E.O. 13599.
This executive determination suggests that the activities of Bank Markazi are not
central banking activities that would provide § 1611(b) immunity. See NML, 652
F.3d at 172 (setting forth functional test for central banking activities).

Finally, § 8772 also applies “notwithstanding any other provision of law,
including any provision of law relating to sovereign immunity[.]” 22 U.S.C. §
8772(a)(1)(emphasis added). Assuming—as the Court finds below—that § 8772 is

valid, it must also find no central bank immunity.

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In light of the above conclusions, there is no doubt that this Court has subject
matter jurisdiction with respect to claims asserted against Bank Markazi. Its
motion to dismiss is denied.

IV. MOTION TO VACATE RESTRAINTS
A. Background and Procedural History

As set forth above, in 2008, plaintiffs obtained writs of attachment and
execution against an account that Clearstream maintained at Citibank, imposing
restraints—restrictions against the transfer or disposal of the assets in that
account. That account was used to manage proceeds connected to the Markazi
Bonds.

In June 2008, Clearstream challenged the restraints and this Court held an
evidentiary hearing. At that hearing, Clearstream presented evidence that “at one
time Clearstream’s [customer, the Central Bank of Iran (“Bank Markazi”), was the
underlying beneficial owner of the securities entitlements identified in the
restraints, but that in February 2008] Bank Markazi [transferred all but one of its
securities entitlements to the bonds identified in the restraints from its account at
Clearstream to an account with another Clearstream customer], Banca UBAE
S.p.A.” (See Clearstream’s Consol. Mem. in Supp. Of Mot. To Vacate Restraints
(‘Clearstream Vacate Br.) at 3.) At that hearing, a Clearstream employee testified
that he did not know whether Bank Markazi remained the beneficial owner of the
securities entitlements. (Id.) At the conclusion of the hearing, J udge Koeltl lifted

the restraints as to the two bonds that had been sold to customers other than UBAE

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(valued at approximately U.S. $250 million). The restraints were not lifted as to the
remaining assets held in Clearstream’s Omnibus Account at Citibank. (Id. at 4.)

Ata June 27, 2008, hearing, Clearstream moved again to vacate the
remaining restraints — this time pursuant to the Uniform Commercial Code
(UCC”), §8-112(c). Clearstream argued that neither it nor Citibank was a proper
“garnishee” under the provision. Clearstream further argued that the restraints
should be lifted since the securities entitlements were Clearstream’s and not Bank
Markazi’s. (d.)

On June 23, 2009, Judge Barbara Jones held that Clearstream was not a
proper garnishee under § 8-112(c) of the UCC because all but one of the securities at
issue were held at Clearstream in the name of UBAE, rather than Bank Markazi.
(See Order, Peterson et al. v. Islamic Republic of Iran et al. (S.D.N.Y. June 23 2009),
ECF No. 171.) Bank Markazi, as an instrumentality of Iran, was the only proper
garnishee under UCC § 8-112(c). The Order noted that it was possible, however,
that the transfer of the Bank Markazi securities to the UBAE account was
fraudulent and that Bank Markazi therefore remained the true holder of the
securities. (Id.) She held that the restraints would remain in place pending a
further judicial determination as to (1) whether such transfers could be fraudulent
as a matter of law, (2) if they were, in fact, fraudulent, and (3) if Clearstream was
(or could be made) a proper garnishee. (Id.)

The parties then briefed whether a judicial determination that the

conveyance was fraudulent would alter the UCC analysis and whether Clearstream

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could in any event be a proper garnishee. (See Letter of Frank Panopoulos to Hon.
Barbara S. Jones (hereinafter “Clearstream Restraints Br.”), Aug. 14, 2009, ECF
No. 181; Letter of Liviu Vogel to Hon. Barbara S. Jones (hereinafter “Pls.
Restraints Br.”), Sept. 19, 2009, ECF No. 183). In the same briefing, plaintiffs also
raised alternative theories supporting turnover of the same assets. (Pls.’ Restraints
Br. at 4-6.) The Court never issued a subsequent ruling addressing those
arguments. Those arguments were then re-briefed and consolidated into
Clearstream’s motion to vacate now pending before this Court and resolved herein.
(See Renewed Mot. To Vacate Restraints, ECF No. 174.)

Clearstream’s motion to vacate initially relied upon the following five
arguments:

e Clearstream is not a proper garnishee under UCC §8-112(0);

e According to UCC §8-110, Bank Markazi’s assets or interests are located

in Luxembourg and not this district and must be restrained there;
e Common law “situs” rules are not applicable as a basis to restrain or
turnover the assets;

e The restrained assets are not “Blocked Assets” under TRIA;

e Equitable relief is unavailable to restrain and turnover the blocked assets.

In its reply memorandum on this motion, Clearstream adds a sixth
argument—that the competing E.U. and U.S. blocking regimes present a non-
justicable political question, the same argument the Court rejected, supra, with

respect to Bank Markazi’s motion to dismiss.

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In response to this series of arguments, plaintiffs contend that (1) the EU
Regulation does not create a non-justiciable political question; (2) the UCC is
inapplicable to the questions before this Court because TRIA preempts conflicting
state law and the Blocked Assets are therefore subject to both the restraints and to
turnover; (3) TRIA and E.0.13599 render the situs argument inapplicable; and (4)
that the restrained assets are designated as Blocked Assets. According to plaintiffs,
New York’s CPLR permits enforcement of plaintiffs’ judgments against the cash
held in the Omnibus Account.

B. Analysis

“Enough is enough” is the reductionist version of plaintiffs’ response to

Clearstream’s motion to vacate. This Court agrees.
i. Political Question

The Court rejected the political question argument with respect to Bank
Markazi’s motion to dismiss and Clearstream’s version of the argument is not
materially different.

Clearstream adds only one novel aspect to its political question argument: it
argues that a turnover order will subject it to inconsistent obligations in the United
States and Europe. Ifthe plaintiffs were to obtain a turnover order, the resulting
debit in the Luxembourg book entry might violate the E.U. blocking regime and
Clearstream’s obligation to Bank Markazi.

However, even if a change in the Clearstream accounts in the U.S. will cause

a book entry in Luxembourg — placing Clearstream at risk of violating of EU

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Regulations—that issue is one left to Clearstream to address in the EU. As stated
above, if this Court were required to hypothesize as to the implications of foreign
regulations with respect to actions before it, paralysis would result in numerous
situations: U.S. courts would no doubt be inundated with such issues brought
forward tactically. There is no such hardline rule, and in a world of transnational
commerce there should not be.
ll. Remaining Arguments for Vacating the Restraints

The same statute — 22 U.S.C. § 8772 — crucial to resolving Bank Markazi’s
motion to dismiss also answers the remaining arguments Clearstream has raised in
support of its motion to vacate. Section 8772 specifically preempts “any other
provision of law” including “any inconsistent provision of state law.” 22 U.S.C. §
8772(a)(1). Accordingly, this Court need not address the potpourri of UCC-based
arguments raised by Clearstream: Section 8772 provides that, so long as the
appropriate judicial determinations are made, there is no legal barrier to execution
on the Blocked Assets.

Accordingly, the Court denies Clearstream’s motion to vacate the restraints.
V. PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

Plaintiffs have moved for partial summary judgment against defendants

Clearstream, Bank Markazi, and UBAE" on their cause of action for turnover of

 

14 UBAE did not file substantive opposition to plaintiffs’ partial summary judgment motion initially.
It argued that it should not be compelled to respond to plaintiffs’ motion until its own Rule 12(b)(2)
motion to dismiss had been decided. In the interests of judicial economy, the Court issued an Order
on February 14, 2013, directing UBAE to file any opposition to plaintiffs’ motion, and directed UBAE
to “assume that the Court finds sufficient bases to exercise personal jurisdiction over it.” (See Order,
Feb. 14, 2013, ECF No. 325.) UBAE filed its substantive opposition brief on February 22, 2013.

(ECF No. 328.)
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the approximately $1.75 billion!5 in Blocked Assets, held in the Omnibus Account at
Citibank.1¢

The Court has already determined that the assets at issue are properly
restrained. The question before the Court is now whether there exist triable issues
of fact as to whether those assets are subject to turnover.

While both Clearstream and Bank Markazi raise additional arguments
(many of which were already raised in the prior motions), the crux of this motion is
really a single question: is there a triable issue as to whether the Blocked Assets
are owned by Bank Markazi? In the context of the motion to vacate the restraints,
Clearstream had stipulated that UBAE had no beneficial interest and the transfer
between UBAE and Bank Markazi was unwound. There is no such stipulation on
this motion.

For the reasons set forth below, this Court finds that the record evidence 1s
clear and one-sided: there is no triable issue on this question. No rational juror
could find that any person or entity—other than Bank Markazi—has a
constitutional, beneficial or equitable interest in the Blocked Assets; plaintiffs are
therefore entitled to turnover as a matter of law.

Defendants also argue that turnover would run afoul of certain constitutional

rights: first, that the specific statutory provision, 22 U.S.C. § 8772 is an invalid

 

15 UBAE correctly points out that the two securities with a face value of $250 million it is alleged to
have conveyed fraudulently in early 2008 are not at issue in the plaintiffs’ motion for partial
summary judgment. (See UBAE S.J. Opp. Br.” at 2 n.2.) The Court does not resolve any merits
issues as regards claims based on this alleged conveyance.

16 As set forth above, plaintiffs have reached agreement regarding priority, as between themselves, of
distribution of the assets. Accordingly, the Court does not address any such questions herein.

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legislative act of adjudication that violates Article III; second, that it constitutes an
unlawful bill of attainder, U.S. Const. art. I, § 9, cl. 3; third, that turnover would
amount to an unconstitutional taking in violation of their due process rights. See
U.S. Const. amend. V. None of these arguments has merit.

A. Legal Standard for Summary Judgment

Summary Judgment, as to all or part of a claim, is warranted if the
pleadings, the discovery and disclosure materials, along with any affidavits that are
admissible, demonstrate that there is no genuine issue of fact necessitating
resolution at trial. Fed.R.Civ.P. 56(c); see also Anderson v. Liberty Lobby, Inc., 477
U.S. 242, 247 (1986); Celotex Corp. v. Catrett, 477 U.S. 317, 322-323 (1986). A
party moving for summary judgment bears the initial burden of demonstrating that
no genuine issue of material fact exists; all reasonable inferences should be drawn
in favor of the non-moving party. See Anderson, 477 U.S. at 255; Grady v. Affiliated
Cent., Inc., 130 F.3d 553, 559 (2d Cir. 1997). The burden then shifts to the non-
moving party to come forward with “admissible evidence sufficient to raise a
genuine issue of fact for trial in order to avoid summary judgment.” See J aramillo
v. Weyerhauser Co., 536 F.3d 140, 145 (2d Cir. 2008). Where the non-moving party
would bear the ultimate burden of proof on an issue at trial, the moving party
satisfies its burden on the motion by pointing to an absence of evidence to support
an essential element of the non-movant’s claim. See Libraire v. Kaplan, CV No. 06-
1500, 2008 WL 794973 at “5 (E.D.N.Y. Mar. 24, 2008). Where it is clear that no

rational trier of fact could find in favor of the non-moving party, summary judgment

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is warranted. Gallo v. Prudential Residential Servs., Ltd., 22 F.3d 1219, 1223 (2d
Cir. 1994). The mere possibility that a dispute may exist, without more, is not
sufficient to overcome a convincing presentation by the moving party.” Anderson,
AT7 U.S. at 247-48. Mere speculation or conjecture is insufficient to defeat a
motion. W. World Ins. Co. v. Stack Oil, Inc., 922 F.2d 118, 121 (2d Cir. 1990).

B. Analysis

As stated above, in opposition to this motion, defendants have filled the
proverbial kitchen sink with arguments. As the Court has reviewed the thousands
of pages of briefing on and in support of these motions, building in a crescendo to
the instant motion, it cannot help but be reminded of the grand finale in a Fourth of
July fireworks show — all arguments thrown in and set off at once. While this Court
has carefully reviewed all of defendants’ various arguments, it will not address each
of them here.!7 It need not do so because the basic question and the dispositive
legal principles do not require descent into those waters—or into that sink, to mix
metaphors.

i. The Blocked Assets are Bank Markazi

Clearstream argues that there are triable issues as to whether Bank Markazi
is the “owner of’ the Blocked Assets. As with similar arguments made in the
context of the motion to dismiss, the arguments made in support of this assertion

are based on laws preempted by 22 U.S.C. § 8772.

 

17 Defendants’ UCC, situs of property and Treaty of Amity arguments, in particular, are mooted by
the Court’s determination with respect to 22 U.S.C. § 8772.

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As noted above, § 8772 requires the Court to determine who—other than an
agency or instrumentality of Iran—has a constitutional, beneficial or equitable
interest in the assets at issue. None of the defendants cite authority or facts
supporting that any entity other than Bank Markazi has such an interest.

On this record and as a matter of law no other entity could have an equitable
or beneficial interest. A beneficial interest is “[a] right or expectancy in something .
_. as opposed to legal title to that thing.” Interest, Black's Law Dictionary (9th ed.
2009). The key factor is whether “the property benefitted [the beneficial owner] as
if he had received the property directly. See Exp.-Imp. Bank of U.S. v. Asia Pulp &
Paper Co., Ltd., 609 F.3d 111, 120 (2d Cir. 2010) (citing United States v. Coluccio, 51
F.3d 337, 341 (2d Cir.1995)). Clearstream’s only role with regard to the Blocked
Assets is as the agent of Bank Markazi. Even absent the restraints, it fails to
proffer any evidence that it has the right to use or move the Blocked Assets held at
Citibank without express permission or direction from Bank Markazi. Nor does
Clearstream have equitable title, “a beneficial interest in property [that] gives the
holder the right to acquire formal legal title.” Lippe V. Genlyte Group Inc., 98 CIV.
8672 (DC), 2002 WL 531010 (S.D.N.Y. Apr. 8, 2002)(citing Black’s Law Dictionary
1493 (7th ed.1999)). Clearstream does not allege—and puts forward no facts—that
it has legal title or the right to acquire that title for the Blocked Assets. UBAE

disclaims any “legally congnizable interest” in the Citibank proceeds. }8 They are

 

18 UBAE admits that it has “no legally cognizable interest” in the restrained bonds. (UBAE SJ Opp.
Br. at 2-3.) UBAE thus admits that which plaintiffs wish to prove on summary judgment: there is no
issue of material fact as to the ownership of the Markazi Bonds with respect to UBAE (and, as the
remainder of the above analysis shows, nor does Clearstream have any such ownership interest).

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both merely account holders without authority to move or use the assets in the
absence of direction. They simply—like Citibank—maintain that account on behalf
of another, Bank Markazi.

In addition, Bank Markazi’s arguments that it is immune from pre- or post-
judgment attachment depend upon preempted provisions of the FSIA. See 22
U.S.C. § 8772(a).

Bank Markazi has repeatedly insisted that it is the sole beneficial owner of
the Blocked Assets. As set forth above, but bears repeating in the context of the
Court’s analysis of this motion, in various submissions Bank Markazi has asserted
that “Over $1.75 billion in securities belonging to Bank Markazi... are frozen ina
custodial Omnibus Account at [Citibank]’; that the “Restrained Securities are the
property of Bank Markazi, the Central Bank of Iran”, that the “aggregate value of
the remaining bond instruments, Le. the Restrained Securities that are the
property of Bank Markazi and the subject of the Turnover Action — is thus $1.753
billion”; that the “Restrained Securities are the property of a Foreign Central Bank .
..”: that the “Restrained Securities are presumed to be the property of Bank
Markazi”; and “the Restrained Securities are prima facie the property of a third
party, Bank Markazi... ” (See Bank Markazi’s First Mem. of L. in Support of its
Mot. to Dismiss the Am. Compl., May 11, 2011, ECF No. 18 (“Markazi’s First
MOL’), at 1, 5, 9, 10, 36 (emphases added).) In addition, two officers of Bank
Markazi have sworn under penalty of perjury that the Blocked Assets are the “sole

property of Bank Markazi and held for its own account.” (Aff. of Gholamossein

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Arabieh § 2, Vogel Decl. Ex. J, Oct. 17, 2010, ECF No. 210; Aff. of Ali Asghar
Massoumi §] 2, Vogel Decl. Ex. K, Oct. 17, 2010, ECF No. 210).

There simply is no other possible owner of the interests here other than Bank
Markazi; there is no triable issue of fact.

i. Constitutional Arguments

Bank Markazi and Clearstream urge that, if this Court determines that the
assets are subject to turnover pursuant to § 8772, prior to doing so it must consider
whether that statute passes constitutional muster. In this regard, their arguments
combine both general constitutional arguments with specific arguments directed at
22, U.S.C. §8772. As set forth above, § 8772(a)(5) provides that this Court must
make a judicial determination as to whether another person has a constitutionally
protected interest in the assets. The Court has made such a determination, and no
other person has such an interest.

Clearstream and Bank Markazi’s various constitutional arguments are
without merit.!®

a. Separation of Powers

First, defendants Clearstream and Bank Markazi argue that, pursuant to
Article III of the Constitution, 22 U.S.C. § 8772 is a congressional act violative of
the separation of powers. (See Bank Markazi Supp. Mem. of L. in Opp. to Pls.’ Mot.

for Partial Summ. J. (“Markazi Supp. SJ Br.”) at 10-12.) They argue that, in

 

19 Plaintiffs have asserted that Clearstream does not itself have standing to raise constitutional
challenges because it does not own or even have a beneficial interest in the Blocked Assets. Because
none of the constitutional challenges has merit — whether raised by Bank Markazi or Clearstream
(and they are raised by both of those defendants) — the Court need not and does not reach the

standing issue.

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passing § 8772, Congress effectively dictated specific factual findings in connection
with a specific litigation—invading the province of the courts. (Id.) See U.S. v.
Klein, 80 U.S. 128, 146 (1871) (Congress may not prescribe rules of decision).
According to Bank Markazi, the statute’s requirement of judicial determinations
does not save it since those determinations are “legislative fig lea[ves]” that pre-
determine a finding that turnover is required. (Markazi Supp. Sd Br. at 12.)

This argument ignores the structure of the statute. The statute does not
itself “find” turnover required; such determination is specifically left to the Court.
The statute is not a self-executing congressional resolution of a legal dispute, but
rather requires the Court to make determinations regarding (1) whether and to
what extent Iran has a beneficial or equitable interest in the assets at issue, and (2)
whether constitutionally-protected interest holders other than Iran are present.
These determinations are not mere fig leaves; it is quite possible that the Court
could have found that defendants raised a triable issue as to whether the Blocked
Assets were owned by Iran, or that Clearstream and/or UBAE have some form of
beneficial or equitable interest. Any such finding of true third party interest could
limit—or even eliminate turnover (at least at this time). The statute merely
“chang|es] the law applicable to pending cases:” it does not “usurp the adjudicative
function assigned to the federal courts|[.]” See Axel Johnson, Inc. v. Arthur

Andersen & Co., 6 F.3d 78, 81 (2d Cir. 1993). There is frankly plenty for this Court

fit toy SS

to adjudicate.

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b. Bills of Attainder and Ex Post Facto Law
Similarly, § 8772 does not violate the constitutional prohibition against bills
of attainder or ex post facto laws. Bills of attainder exist when a congressional act
(1) legislatively determines guilt, and (2) and inflicts punishment upon an
identifiable individual, (3) without the protections accompanying a trial. See Nixon
y. Adm’r of Gen. Sves., 433 U.S. 425, 468 (1977). A critical aspect of a bill of
attainder is its retrospective nature — classically, defining conduct which has

already occurred (and was legal when it occurred) as illegal. Consol. Edison Co. v.

 

Pataki, 292 F.3d 338, 349 (2d Cir. 2002). In short, it ig an ex post facto declaration
or finding of guilt by legislative act.

Here, there is no retrospective “punishment” enacted against any defendant.
As the Court found above, the financial intermediaries—UBAE and Clearstream—
have no constitutional, beneficial, or equitable interest in the assets at issue; thus,
it is impossible for seizure of those assets to constitute “punishment” as to them. As
to Bank Markazi, now many years ago plaintiffs obtained default judgments as to
liability and damages against the Iranian Government. Iran’s conduct leading to
such determinations was based on established common law principles. Iran’s
liability and its required payment of damages was therefore established years prior
to the 2012 Act. At issue now is merely execution on assets present in this district,
in connection with those judgments. Prior to the 2012 Act, the FSIA and TRIA,

along with the CPLR, supported restraint and execution against those assets.

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Section 8772 is thus a legislative act that does not determine “guilt”. The law is
clear that forbidden legislative punishment is not involved “merely because [the act]
imposes burdensome consequences.” Nixon, 433 USS. at 742.

Section § 8772 is therefore also not backward-looking; it did not change the
reasonable expectations of parties as to which assets may be subject to attachment
and turnover. Indeed, this litigation regarding attachment of the assets at issue was
commenced long before the passage of § 8772.

c. Takings

Nor does the statute effect an unconstitutional taking without just
compensation as to either Clearstream or Bank Markazi. The Takings Clause of
the Constitution provides that “private property [shall not] be taken for public use,
without just compensation.” U.S. Const. Amdt. V.

Clearstream has no constitutionally protected property interest in the
Blocked Assets. It makes a purely legal argument that such an interest arises from
its alleged right to payment from Citibank. This argument is without merit.
Clearstream is in no different position from Citibank: it is merely a stakeholder
without any cognizable interest in the resolution of this dispute on the merits. No
doubt it views it necessary for client relations to advocate forcefully against
negative impacts to its client’s (Bank Markazi) interests, but the fact remains that
there is no record evidence that it is acting as anything other than an agent; it does

not own the assets at issue.

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The cases which Clearstream cites in support of its position do not alter this
analysis. For instance, Lucas v. S.C. Coastal Council, 505 U.S. 1003, 1019 (1992),
refers to a taking as extinguishing a property right. Lucas related to real property.
Of course, Clearstream’s interest in the Blocked Assets is one of account entry only
— it provides services with respect to assets for its clients, UBAE, on behalf Bank
Markazi. Nothing in the record supports that Clearstream could unilaterally choose
to use those assets.

The regulatory takings doctrine set forth in Penn Central Transp. Co. v. N.Y.,
438 U.S. 104, 124 (1978), also cited by Clearstream, is similarly inapposite. There,
the Supreme Court found that a regulation—structured in a particular manner—
could result in a taking. When faced with such issues, courts are to ask about (1)
the economic impact of the regulation on the claimant, (2) the extent to which the
regulation has interfered with distinct investment-backed expectations ... and (3)
the character of the government action. Clearstream’s only argument in support of
such a regulatory taking is that as a stakeholder, if the assets are turned over, it
might be exposed to claims from Bank Markazi. That is no different from Citibank’s
position. Clearstream does not have distinct investment-backed expectations—
indeed, it cannot use these funds itself. The regulatory structure surrounding
turnover provides for ample (and there certainly has been ample) due process in

furtherance of an important and reasonable governmental interest in pursuing its

national security goals.

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Finally, of course, Clearstream’s rights and obligations are frankly no
different under § 8772 than in the absence of that statute. The statute perhaps
allows a court, if it were at the beginning of this process, to weed out baseless
arguments. However, the outcome of this matter is neither entirely nor primarily
dependent on the existence of § 8772. The combination of the FSIA, TRIA, and
E.0.13599 would lead to the same result, Accordingly, §8772 cannot be an
independent “taking” of that to which Clearstream and UBAE are not entitled and
Bank Markazi is no longer entitled.

For that reason Bank Markazi’s suggestion that the statute effects a taking
per se—completely appropriating Markazi's property and depriving it of all
economically beneficial use—is incorrect. See Lucas, 505 U.S. at 1019. Markazi has
no reasonable expectation in the assets at issue because, as the court held in
Hausler II, once assets are blocked, “parties with interests in those assets have no
reasonable expectation that their interests will not be diminished or extinguished.”

Nor does § 8772 effect a taking for purely private use. Bank Markazi points
out that the U.S. government “may not take the property of A for the sole purpose of
transferring it to another private party B, even though A is paid just compensation.”
Kelo v. Civy of New London, Conn., 545 U.S. 469, 477 (2005). The sole purpose of §
8772, Markazi argues, is to expropriate sovereign property for a purely private
purpose. (See Markazi Supp. SJ Br. at 19.)

But the statute does not lack a public purpose. As the Court held in

connection with another action seeking turnover of Iranian assets, awarding such

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assets does not violate the public use requirement where, as here, the Government
seeks to address the “unusual and extraordinary threat to the national security,
foreign policy, and economy of the United States’ that . . . Iran poses to the United
States.” See In re 650 Fifth Ave. and Related Props., 777 F. Supp. 2d 529, 576-77
(S.D.N.Y. 2011)(quoting Exec. Order No. 12957, 60 FR 14615 (March 15, 1995)).

Moreover, even § 8772 requires that this Court make certain judicial
determinations prior to ordering turnover: that no party has a constitutional,
beneficial or equitable interest in the property at issue. In connection with making
these determinations, the Court has allowed many submissions; the many felled
trees required for this Court to plow through are evidence of that process.

Finally, Clearstream’s argument that turnover would violate Equal
Protection also fails. The law is clear that legislation is presumed valid and will be
upheld so long as it is reasonably related to a legitimate state interest. See City of
Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 440 (1985). There can be no serious
dispute that §8772 furthers the United States’ legitimate interest in furthering its
foreign policy with respect to Iran. Clearstream’s argument that §8772 unjustly
discriminates against foreign intermediaries fails. The legislation is presumed
valid — foreign intermediaries are entitled to no special treatment.

ii. ._UBAE’s Arguments

UBAE is in no different a position — it is another layer of stakeholder trying

to shield Bank Markazi from turnover. Nowhere does UBAE assert — nor could it —

that it is the true beneficial owner of the Blocked Assets. Indeed, it disclaims any

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legally cognizable interest. At most, it is a layer in the sandwich built to try and
interfere with execution on those assets. Even if UBAE can control the Blocked
Assets, that control is irrelevant; it simply fits within E.O. 13599’s provision for a
person acting “directly or indirectly” on behalf of Iran.

Nor has the notice given UBAE been deficient; it has been served with all
motion papers and its counsel have attended the conferences in this action. UBAE
makes no additional arguments here that could credibly change the outcome of this
motion with respect to it, nor to the other defendants. As a mere agent of Bank
Markazi, then, the Blocked Assets held in the name of UBAE are subject to
turnover.

lv. Defendants’ other arguments against turnover

Defendants’ final array of arguments in opposition to this motion were
already dispensed with on the basis of § 8772.

Defendants argue that (1) if this Court found that the assets are Bank
Markazi’s, allowing execution thereon would violate the Treaty of Amity; (2) if the
assets are those “of’ Bank Markazi, then plaintiffs have failed to demonstrate that
there is no triable issue as to whether, under the FSIA §1611(b)(1), they are assets
used for central bank purposes; (8) that Bank Markazi is immune from pre-
judgment and post-judgment attachment and that immunity cannot be waived, and
(4) a variety of arguments regarding whether the assets are theoretically located in

Luxembourg and not New York.

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None of these arguments succeed. The Court specifically refers to earlier
discussions relating to the arguments above. Section 8772 explicitly states the
congressional intent that Iran be held accountable for the judgments against it.
Importantly, the statute explicitly refers to those assets at issue in this action.
Accordingly, Congress has itself swept aside defendants’ final arguments.

On a motion for summary judgment, the Court must determine whether
there is a triable issue of fact precluding turnover. As discussed above, there is not.
Bank Markazi—the central bank of Iran—has repeatedly asserted it is the sole
beneficial owner of the assets. No other party can raise a triable issue as to that,
the ultimate question. And on the evidence in this record, no rational juror could
find otherwise.

Plaintiffs’ motion for partial summary judgment is granted.

VI. BLAND MOTION FOR EXECUTION

As a final matter, the Bland judgment creditors present a motion for
execution under 28 U.S.C. § 1610.7 The Bland group already possesses a § 1610
order, issued October 4, 2012, by the U.S. District Court for the District of
Columbia. See Order, Estate of Steven Bland, et al, v. Islamic Republic of Iran, et
al, 05-cv-2124 (RCL)(D.D.C. Oct. 4, 2012), ECF No. 84. They seek an additional

order within this District.

 

20 The Bland creditors are the plaintiffs in Estate of Steven Bland, et al, v. Islamic Republic of Iran,
et al, 05-cv-2124 (RCL)O.D.C.).

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While the Court expresses no opinion as to the necessity of a § 1610(c) order
in a TRIA action,2! the Bland creditors make a sufficient showing for an order of
execution under § 1610(c). That section of FSIA provides for execution of a valid
judgment against an instrumentality of a terrorist state where (1) the Court
“determine[s] that a reasonable period of time has elapsed following the entry of
judgment”, and (2) proper “notice required under section 1608(e)” has been given.
28 U.S.C. § 1610(c). Under § 1608(e), a defaulting foreign sovereign must be served
in accordance with one of several methods, including “by sending two copies of the
summons and complaint and a notice of suit, together with a translation of each
into the official language of the foreign state . . . to the Secretary of State” for
transmittal via diplomatic note. 28 U.S.C. §§ 1608(a),(e).

The Bland judgment meets both of the § 1610(c) requirements. Claimants
present a valid default judgment against Iran dated December 12, 2011. (Bland
Mot. for Entry of Order Pursuant to 28 U.S.C. § 1610(c) (“Bland § 1610(c) Mot.”),
Ex. A, ECF No. 305.) Service on Iran via the Department of State was completed on
July 4, 2012, in accordance with 28 U.S.C. § 1608(a). See Aff. of Service, Estate of
Steven Bland, et al, v. Islamic Republic of Iran, et al, 05-cv-2124 (RCL)(D.D.C. Aug.
13, 2012), ECF No. 82. The Government of Iran has had more than 100 days as of
the date of this Opinion and Order in which to respond to the Bland judgment; it

has not. This period is reasonable for the purposes of § 1610(c). See, e.g., Gadsby &

 

21 The Peterson plaintiffs have argued in separate briefing that no § 1610(c) order is required to
execute under TRIA. (See Pls.” Summ. J. Reply at 54-57.) As the Court finds that the requirements
of § 1610(c) are met with respect to the Bland creditors, it need not address the order’s relevance to

TRIA.
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Hannah v. Socialist, Republic of Romania, 698 F. Supp. 483, 486 (S.D.N.Y. 1988)
(two months constitutes a “reasonable period of time” under § 1610(c)); Ferrostaal
Metals v. §.S. Lash Pacifico, 652 F. Supp. 420, 423 (S.D.N.Y. 1987) (three months
constitutes reasonable time under § 1610(c)).

The Bland creditors’ motion for an order of attachment and/or turnover
pursuant to 28 U.S.C. § 1610 is granted. They may proceed to collection of the
Bland Judgment by attachment and/or execution, or by any other means permitted
by applicable law against the assets of the Islamic Republic of Iran and the Iranian
Ministry of Information and Security, in accordance with 28 U.S.C. §§ 1610(a),(b).

CONCLUSION
For these reasons and set forth more fully above, the following motions are
DENIED:
e UBAE’s Motion to Dismiss;
e Clearstream’s Motion to Dismiss;
e Bank Markazi’s Motion to Dismiss;
e Clearstream’s Motion to Vacate the Restraints and Renewed
Motion to Vacate the Restraints;

For the reasons set forth above, the following motions are GRANTED:
e Plaintiffs’ Motion for Partial Summary Judgment;
e The Bland judgment creditors’ motion for execution;

The parties shall confer and jointly and, not later than March 15, 20138,

submit a proposed schedule to resolve the remainder of the case. If the parties are

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unable to agree, they shall set forth in a letter by the same date the matters and

issues which they believe remain to be resolved and each party's proposed schedule.

The Clerk of Court is directed to close the motions at ECF Nos. 174, 205, 209,

295, 299 (under seal), 301, and 305 (under seal).

SO ORDERED.

Dated: New York, New York
February 28, 2013

KATHERINE B. FORREST
United States District Judge

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